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 1   Garrett K. Sakimae (SBN 288453)
 2   FISH & RICHARDSON P.C.
     12390 El Camino Real
 3   San Diego, CA 92130
 4   Telephone: (858) 678-5070
     Facsimile: (858) 678-5099
 5   sakimae@fr.com
 6
     R. David Hosp (Pro Hac Vice)
 7   Sheryl Garko (Pro Hac Vice)
 8   Mark S. Puzella (Pro Hac Vice)
     Laura B. Najemy (Pro Hac Vice)
 9   1 Marina Park Dr.
10   Boston, MA 02210
     Telephone: (617) 542-5070
11   Facsimile: (617) 542-8906
12   E-mail: hosp@fr.com; garko@fr.com
         puzella@fr.com; najemy@fr.com
13
14   [Additional counsel listed on last page]
     Attorneys for Defendant
15   NEW BALANCE ATHLETICS, INC.
16
                           UNITED STATES DISTRICT COURT
17
                         SOUTHERN DISTRICT OF CALIFORNIA
18
19 SHEILA DASHNAW, WILLIAM                      Case No. 3:17-cv-00159-L-JLB
   MEIER, and SHERRYL JONES,
20 individually, and on behalf of all others    NEW BALANCE ATHLETICS,
                                                INC.’S OMNIBUS OPPOSITION TO
21 similarly situated,                          PLAINTIFFS’ MOTION FOR
                                                CLASS CERTIFICATION,
22                                              OPPOSITION TO PLAINTIFFS’
           Plaintiffs,                          REQUEST FOR JUDICIAL
23                                              NOTICE, AND DAUBERT MOTION
           v.                                   TO EXCLUDE PLAINTIFFS’
24                                              EXPERTS’ REPORTS
25 NEW BALANCE ATHLETICS, INC., a               Judge: Hon. M. James Lorenz
   corporation; and DOES 1 through 50,
26 inclusive,                                   Courtroom: 5B
27                                              Special Briefing Schedule Ordered
          Defendants.
28
                                                                              17cv00159
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 1      I.      INTRODUCTION
 2           Defendant New Balance Athletics, Inc. (“New Balance”), by and through its
 3   undersigned counsel, hereby opposes Plaintiffs’ motion to certify a class consisting
 4   of California purchasers of New Balance shoes identified as “Made in the USA”
 5   (“Motion”) (ECF No. 49) for their claims against New Balance under California’s
 6   False Advertising Law (“FAL”) (Cal. Bus. & Prof. Code § 17500, et seq.),
 7   California’s Consumer Legal Remedies Act (“CLRA”) (Cal. Civ. Code § 1750, et
 8   seq.), Cal. Bus. & Prof. Code § 17533.7, California’s Unfair Competition law
 9   (“UCL”) (Cal. Bus. & Prof. Code § 17204), and for breach of express warranty,
10   negligent misrepresentation, and unjust enrichment.
11           New Balance is the only major manufacturer of athletic shoes that has
12   maintained its commitment to domestic manufacturing, employing more than 1,300
13   American workers in domestic factories that manufacture high-quality, premium
14   footwear in multiple factories in this country. The company truthfully markets its
15   athletic shoes, providing complete and accurate information regarding the nature of
16   its domestic manufacturing. Class certification is not appropriate because absent
17   class members lack standing for the claims at issue; the named Plaintiffs lack
18   standing for certain aspects of the claims asserted; the putative class is overbroad
19   and not ascertainable, lacks commonality, and typicality; and, common claims do
20   not predominate. The named Plaintiffs will not adequately represent class members
21   because they are not individuals who were dissatisfied with the products they
22   purchased, but rather are individuals who were solicited for this litigation by
23   counsel. Moreover, Plaintiffs have not offered a damages model adequate to
24   calculate damages consistent with their theory of harm on a class-wide basis.
25   Finally, a New Balance expert conducted a survey of putative class members, which
26   demonstrated the complete absence of any merit to Plaintiffs’ underlying claims.
27           New Balance also opposes Plaintiffs’ Request for Judicial Notice in Support
28                                              1
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 1   of Motion for Class Certification (“RJN”) (ECF No. 53) to the extent it requests
 2   anything more than judicial notice of the fact that certain documents exist in the
 3   public record.
 4            Finally, New Balance moves this Court to exclude the opinions and testimony
 5   of Plaintiffs’ experts Douglas A. Kysar and Colin B. Weir. Professor Kysar’s report
 6   is devoid of any facts, data, reliable methods, or application thereof relevant to the
 7   issues presented in this lawsuit and he lacks expertise or specialized knowledge that
 8   will assist the trier of fact in this particular matter. And, while Mr. Weir may be an
 9   economist by trade, he fails to properly and reliably apply economic principles and
10   survey methods to determine the alleged damages at issue in this litigation, nor does
11   he show that such calculation is possible on a class-wide basis.
12            Pursuant to the Honorable M. James Lorenz United States District Judge
13   Standing Order for Civil Cases, these four memoranda of law are being submitted
14   together in one Omnibus Memorandum. Id. at 2-3.
15      II.      STATEMENT OF FACTS
16               A. New Balance’s Commitment to U.S. Manufacturing
17            New Balance is a privately held company based in Boston, Massachusetts,
18   and controlled by Jim Davis and his family, who purchased the company in 1972,
19   when it consisted of six employees making thirty pairs of shoes daily out of the
20   company’s facilities in Watertown, Massachusetts. Declaration of Bradley D.
21   Miller in Support of New Balance’s Omnibus Memorandum (“Miller Decl.”), ¶¶ 3,
22   4. At the time, the company specialized in running shoes made in varying widths,
23   and sold the products largely to school track programs, through mail-order, and at
24   local athletic facilities. Miller Decl. at ¶ 5. The timing, and the focus on the quality
25   of the New Balance athletic shoes, positioned the company well for the running
26   boom that hit the United States in the 1970s. Id.
27
28                                               2
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 1            In the 1980s, as workers’ salaries and domestic manufacturing costs put
 2   financial pressure on the athletic shoe industry, manufacturers began off-shoring
 3   production largely to Asian countries where labor costs were significantly lower
 4   than in the United States. New Balance, too, shifted some of its manufacturing
 5   overseas. Miller Decl. at ¶ 6. New Balance and Jim Davis, however, maintained a
 6   commitment to keeping a portion of its manufacturing in the United States, and
 7   keeping manufacturing jobs in this country. Ex. 1,1 Bradley D. Miller Deposition
 8   Transcript (“Miller Tr.”), 6:3-17, 142:11-24; Miller Decl. at ¶ 7. New Balance owns
 9   five manufacturing facilities throughout New England, where American workers
10   prepare, cut, and mold materials and components of athletic shoes; and sew, press,
11   and assemble those materials and components into the final product. Ex. 1, Miller
12   Tr. 54:9-19; Miller Decl. at ¶ 8. New Balance is currently the only major athletic
13   shoe manufacturer that maintains any factories in the United States. Ex. 1, Miller
14   Tr. 142:20-24; Miller Decl. at ¶ 10.
15            New Balance’s U.S. factories are not mere assembly stations: materials are
16   prepared, cut, stitched, and crafted to manufacture athletic shoes of the highest
17   quality. Miller Decl. ¶ at 11. New Balance factories employ more than 1,300
18   American workers, and domestic suppliers to New Balance factories employ more
19   than 5,000 additional American workers. Ex. 1, Miller Tr. 48:9-11; Miller Decl. ¶¶
20   at 12, 13. Where certain parts of shoes (most often the soles of the shoes) cannot be
21   manufactured in the United States for a variety of reasons, those parts are imported
22   and incorporated into the final manufactured product. Miller Decl. at ¶ 17.
23            New Balance has remained committed to U.S. manufacturing and its
24   American workers even though the profit margins on the shoes manufactured in the
25   U.S. are significantly lower than those made in other countries. Miller Decl. at ¶ 14.
26   1
      Unless otherwise noted herein, “Ex. X” refers to an exhibit attached to the
27   Declaration of Laura B. Najemy in Support of New Balance’s Omnibus
     Memorandum, filed herewith.
28                                                  3
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 1   Because New Balance is a privately held company, its leadership has the freedom to
 2   advance certain socially conscious goals, including maintaining this commitment.
 3   Miller Decl. at ¶ 15. Indeed, Plaintiffs’ own expert suggested that if New Balance
 4   were a public company, it would not be able to engage in this type of activity that
 5   does not benefit overall profitability. Ex. 2, Douglas A. Kysar Deposition
 6   Transcript (“Kysar Tr.”), 105:1-107:20.
 7               B. New Balance’s Truthful, Qualified Marketing
 8             Consistent with its commitments as a good corporate citizen, New Balance
 9   fully discloses the nature of its domestic manufacturing to its consumers. New
10   Balance expressly notifies its customers that, “Manufactured in the US for over
11   75 years and representing a limited portion of our US sales, New Balance
12   MADE is a premium collection that contains a domestic value of 70% or
13   greater.” See, e.g., Ex. 3, Sample New Balance Print Advertisement.2 This
14   and similar language is ubiquitous throughout the materials accompanying a
15   New Balance “Made in the USA” shoe and New Balance’s advertising, and
16   appears on:
17             The hangtag attached to every pair of “Made in the USA”
                labeled shoes that leave one of New Balance’s five domestic
18
                manufacturing facilities (see Ex. 4, Hangtag);
19
               The New Balance website in multiple iterations and locations
20              (see Ex. 5, New Balance Website, MADE);
21             In-store advertising,        (see    Ex.    6,   Sample      In-Store
                Advertisements);
22
               Print advertising, (see Ex. 3, Sample Print Advertisements);
23
               Digital advertising copy (see Ex. 7, Screenshot of Sample
24              Digital Advertisement); and
25             The bottom of every shoebox labeled “Made in the USA” (see
26              Ex. 8, Photograph of “Made in the USA” Shoebox).
     2
27     Where a pair of shoes is created in the United States but the domestic value is less
     than 70%, New Balance labels the shoes “Assembled in USA.” Miller Decl. ¶ 19.
28                                                  4
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 1         For the purposes of this Opposition, when New Balance refers to its
 2   shoes that are labeled “Made in the USA” it means those shoes that have been
 3   marketed with the qualified “Made in the USA” claim that clearly discloses the
 4   amount of domestic value contained in the shoes.
 5         Plaintiffs do not dispute that New Balance has manufacturing plants in
 6   the United States, and that those factories employ over 1,300 workers.
 7   Plaintiffs do not dispute that the shoes that New Balance labels as “Made in
 8   the USA” actually contain at least 70% domestic value. Nor do plaintiffs
 9   dispute that New Balance qualifies its “Made in the USA” claims by
10   prominently disclosing that New Balance’s “Made in the USA” shoes contain
11   at least 70% domestic value. Rather, Plaintiffs assert that some purchasers
12   (including named Plaintiffs) may not see the qualifications provided by New
13   Balance, or, even if they see the qualifications, they may not “internalize”
14   them sufficiently. See Memorandum in Support of Plaintiffs’ Motion for Class
15   Certification (“Class Mem.”), p. 15 (ECF No. 60). As a result, Plaintiffs assert
16   that New Balance’s use of the phrase “Made in the USA” on its labels violates
17   Cal. Bus. & Prof. Code §§ 17533.7 and 17500, et seq. because the use of
18   “Made in the USA” is deceptive to consumers even when qualified by New
19   Balance’s disclosures. Yet Plaintiffs do not assert or provide any method to
20   ascertain how many members of the class failed to see the disclosures
21   qualifying New Balance’s “Made in the USA” claims, or how many members
22   of the class saw the disclosures and failed to internalize them.
23            C. Most Class Members Were Not Influenced By “Made In The USA”
24               Claims
25         In order to determine whether the proposed class is appropriate, it is
26   important to consider how—if at all—the members of the proposed class were
27   actually affected by the claims at issue. In order to investigate that, New
28                                              5
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 1   Balance’s expert Hal Poret conducted a survey of 300 California residents
 2   who, since 2015, actually purchased New Balance shoes that were labeled
 3   “Made in the USA.” See Declaration of Hal L. Poret in Support of New
 4   Balance’s Omnibus Memorandum, attaching Expert Report of Hal Poret
 5   (“Poret Report”), filed herewith. The purposes of the survey were (1) to assess
 6   whether class members were influenced by the claims, and (2) to determine
 7   whether those influenced by the claims believe that New Balance’s
 8   manufacturing practices met their expectations in purchasing a shoe that, in
 9   their view, qualified as having been made in the United States.
10         As an initial matter, the survey revealed that the majority of putative
11   class members’ purchases were not influenced by any domestic manufacturing
12   claims. First, respondents were asked to name all factors or reasons they could
13   think of that influenced their decision to purchase the New Balance shoes they
14   had purchased. Id. at 6. In this open-ended format, only six of the 300
15   respondents (2%) indicated that they purchased the shoes, in any part, because
16   they were made domestically. Id. at 13. Then, all respondents were given a
17   list of possible factors that could have influenced their purchase, which
18   included “Shoe is made in the U.S.A.,” and asked to identify all that applied to
19   their purchase. Id. at 7-8. Of the 300 respondents, even when prompted with
20   this language as a possible factor, only 86 (28.7%) indicated that this was a
21   factor at any level in their purchasing decision. Id. at 13. That means that
22   more than 70% of all members of the asserted class are entirely indifferent to
23   any “Made in the USA” claim made by New Balance, qualified or not. Id.
24            D. Most Class Members’ “Made In The USA” Expectations Are Met
25               By 70% Domestic Value
26         Even among those members of the asserted class who self-reported that
27   they were influenced to purchase the shoes in part by the fact that they were
28                                              6
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 1   made in the United States, very few felt that the shoe is not genuinely “made”
 2   in this country if 70% of the value of the shoe comes from domestic sources.
 3   Id. Those respondents to the survey who reported that they were influenced by
 4   the fact that the shoes were made in the United States were then informed that
 5   New Balance labels its shoes “Made in the USA” where the domestic value is
 6   at least 70%. Id. at 11. Those respondents were then asked whether, based on
 7   how they understood “Made in the USA” at the time they purchased their
 8   shoes, they consider a shoe for which 70% of the value comes from U.S.
 9   content and labor to be genuinely Made in the USA. Id. Only nine
10   respondents (3% of all surveyed class members) indicated that they do not
11   consider 70% domestic value to properly qualify as “made” in the United
12   States. Id. at 13. And only one surveyed class member (0.3%) reported that
13   they would not have purchased the shoes had they known that they contained
14   70% domestic value. Id. at 13-14. This evidence is in direct contradiction to
15   the named Plaintiffs’ extraordinary beliefs that “Made in the USA” must mean
16   100% domestic content and labor.
17             E. Named Class Members
18         Named Plaintiffs in this case are not individuals who independently felt
19   wronged by having purchased products that failed to meet their expectations and
20   sought legal advice to address that wrong. Rather, they are individuals who were
21   solicited for this litigation through targeted social media advertisements that led
22   them to a class action website trolling for potential plaintiffs. See Ex. 9, Sherryl
23   Jones Deposition Transcript, (“shn”), 17:2-20:7; Ex. 10, Sheila Dashnaw Deposition
24   Transcript (“Dashnaw Tr.”), 18:16-20:6, 26:5-29:25; Ex. 11, William Meier
25   Deposition Transcript (“Meier Tr.”), 22:24-26:4.
26         Nor did any of the named Plaintiffs purchase the shoes because of the “Made
27   in the USA” representation; they purchased the shoes for other reasons. Ms. Jones
28                                               7
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 1   testified that she purchased the shoes because her doctor recommended them as
 2   helping a medical condition for her knees and back. Ex. 9, Jones Tr. 40:13-41:7.
 3   Similarly, Ms. Dashnaw purchased them because a co-worker gave a similar
 4   recommendation based on her doctor’s advice. Ex. 10, Dashnaw Tr. 39:16-40:3.
 5   Mr. Meier purchased them after examining them and trying them on and concluding
 6   that they were comfortable and of a higher quality than other athletic shoes. Ex. 11,
 7   Meier Tr. 49:18-21, 68:13-22. The most that the named Plaintiffs would say was
 8   that they liked the idea of supporting American workers, and that the shoes were
 9   made domestically was probably the reason they were higher quality. See, e.g., Ex.
10   11, Meier Tr. 68:8-22; Ex. 12, Plaintiffs’ Response to Defendant New Balance
11   Athletics, Inc.’s First Set of Interrogatories (“Pls. Interrog. Resp.”), pp. 5-6
12   (“Dahsnaw purchased these shoes because she thinks they are comfortable,
13   particularly because they come in a wide foot size, which fits her feet . . . and she
14   liked the idea of supporting the United States”; “Meier purchased these shoes
15   because he liked their style, they were comfortable and they came in a wide size,
16   and he liked the fact that they were made in the USA”; “Jones . . . decided to buy the
17   made in the USA New Balance shoes because she thinks they are comfortable, likes
18   their style, and because they are made in the USA”).
19         And, importantly, none of the named Plaintiffs felt that the shoes disappointed
20   them. All of them found the shoes to be among the most comfortable, highest
21   quality shoes that they had ever worn. See Ex. 9, Jones Tr. 52:7-17; Ex. 10,
22   Dashnaw Tr. 52:25-53:18; Ex. 11, Meier Tr. 55:10-18.
23      III.   OPPOSITION TO CLASS CERTIFICATION
24         Plaintiffs’ Motion should be denied for six main reasons: (1) Plaintiffs and
25   absent class members lack standing to bring certain of these claims; (2) the class, as
26   contemplated, is not ascertainable; (3) common questions of law and fact do not
27   predominate over individual issues; (4) Plaintiffs’ claims are not typical of the class;
28                                               8
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 1   (5) Plaintiffs are not adequate representatives of the class, and, (6) Plaintiffs’
 2   damages model is unreliable, not sufficiently tied to their theory of harm, and unable
 3   to calculate class-wide damages. With the exception of ascertainability, each of
 4   these reasons alone justifies denial of Plaintiffs’ Motion.
 5         A.     Plaintiffs and Absent Class Members Lack Standing For Claims
 6                1.     Absent Class Members May Lack Standing.
 7         Plaintiffs have failed to prove that absent class members have standing under
 8   Article III to seek relief. Plaintiffs’ Motion ignores Ninth Circuit precedent
 9   requiring proof of injury to all class members, instead focusing solely on an
10   argument that the named Plaintiffs have standing. Compare Mazza v. Am. Honda
11   Motor Co., 666 F.3d 581, 594 (9th Cir. 2012) (holding that “no class may be
12   certified that contains members lacking Article III standing.”) (citing Denney v.
13   Deutsche Bank AG, 443 F.3d 253, 264 (2d Cir. 2006)); with Class Mem. at 7 (ECF
14   No. 60). Article III standing requires proof of an injury in fact that is (1) concrete
15   and particularized, (2) fairly traceable to the challenged conduct of the defendant,
16   and (3) redressable by a favorable decision. See Sandoval v. Pharmacare US, Inc.,
17   No. 15-cv-0738-H-JLB, 2016 U.S. Dist. LEXIS 140717, at *20 (S.D. Cal. June 10,
18   2016) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)); see also
19   Mazza, 666 F.3d at 594-95. Importantly, at the class certification stage, Article III
20   standing must be shown through evidentiary proof rather than merely alleged.
21   Nguyen v. Medora Holdings, LLC, No. 5:14-cv-00618-PSG, 2015 U.S. Dist. LEXIS
22   109125, at *12 (N.D. Cal. Aug. 18, 2015).
23         Plaintiffs seek certification of the following class:
24         All persons located within the State of California who purchased any
           New Balance shoe model labeled as made in the United States through
25
           a retail outlet or through the New Balance website at any time
26         beginning four (4) years prior to the filing of this action on December
           27, 2016 and ending at the time this action settles or proceeds to final
27
           judgment.
28                                               9
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 1   Class Mem. at 1 (ECF No. 60). As defined, however, this class inherently
 2   encompasses members who lack Article III standing, i.e., individuals who have not
 3   suffered an injury in fact. For example, the class includes, at least, the following
 4   potential groups of unharmed individuals: (1) people who never saw the “Made in
 5   the USA” label prior to purchase; (2) people who were not influenced by, or who
 6   did not consider, the “Made in the USA” label in deciding to purchase these shoes;
 7   and, (3) people who saw the “Made in the USA” label, but also read and understood
 8   the 70% domestic value language on the hangtag, shoebox, advertising, and/or
 9   website prior to purchase. Because the members of these subgroups lack standing to
10   bring the claims raised in Plaintiffs’ First Amended Class Action Complaint
11   (“Amended Complaint”) (ECF No. 16), the class as defined cannot be certified.
12         The Poret Report demonstrates that the vast majority of class members did
13   not consider the “Made in the USA” labeling in deciding to purchase the shoes.
14   Poret Report at 13 (finding that: (1) only 2% of respondents sua sponte identified
15   “Made in the USA” as a factor that influenced or contributed to their decision to
16   purchase the New Balance shoes at issue, and (2) even when prompted, only 28.7%
17   of respondents selected “Made in the USA” as a factor). Id. Furthermore, only one
18   out of 300 potential class members surveyed reported that they did not believe that
19   70% domestic content qualified as a “Made in the USA” designation and would not
20   have purchased the shoe if he or she had known that was the threshold used by New
21   Balance in labeling its shoes. Id. at 13-14. In light of this evidence, and in the
22   absence of any evidentiary proof of injury to absent class members, Plaintiffs have
23   not met their burden of proof with respect to the standing of absent of class
24   members.
25         Plaintiffs may argue, though they have not yet, that class standing can be
26   found under the UCL in the absence of injury if the labeling was “unlawful.”
27   However, New Balance’s “Made in the USA” claim is qualified by the language
28                                               10
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 1   found on the hangtag and shoebox, and throughout its advertising and website,
 2   which states that “[w]here the domestic value is at least 70%, we have labeled the
 3   shoe ‘Made in USA,’” see Exs. 3, 4, 5, and 8, and therefore it is not in violation of
 4   Cal. Bus. & Prof. Code § 17533.7, which applies solely to unqualified claims. See
 5   Paz v. AG Goldschmeid, Inc., No. 14cv1372 DMS (DHB), 2014 U.S. Dist. LEXIS
 6   156413, at *14 (S.D. Cal. Oct. 27, 2014) (finding that Cal. Bus. & Prof. Code §
 7   17533.7 “is silent on qualified labels … and thus fails to provide any guidance on
 8   whether such labels would violate the law”); Clark v. Citizens of Humanity, LLC, 97
 9   F. Supp. 3d 1199, 1208 (S.D. Cal. 2015) (finding that “§ 17533.7 allows for the use
10   of qualified ‘Made in the U.S.A.’ labels”).
11                         2.     Plaintiffs Lack Standing To Seek Injunctive Relief.
12            To the extent Plaintiffs seek injunctive relief, which they appear to in Counts
13   I (FAL), II (CLRA), and IV (UCL) of the Amended Complaint, they must establish
14   a likelihood of future injury to themselves. See Bates v. United Parcel Serv., Inc.,
15   511 F.3d 974, 985 (9th Cir. 2007) (plaintiff must show that “he has suffered or is
16   threatened with a concrete and particularized legal harm … coupled with a
17   sufficient likelihood that he will again be wronged in a similar way.”) (emphasis
18   added) (internal quotations and citations omitted); Lucas v. Breg, Inc., 212 F. Supp.
19   3d 950, 962-63 (S.D. Cal. 2016) (plaintiff must establish a “real and immediate
20   threat of repeated injury”) (internal quotations and citations omitted). Plaintiffs
21   have failed to make any such showing with respect to themselves or any absent class
22   members and, as such, certification of a class seeking injunctive relief is improper.3
23            As an initial matter, there is no question that, to the extent that any of the
24   named Plaintiffs were to consider purchasing the shoes again, they would be doing
25
     3
      In fact, Plaintiffs fail to even argue in their Class Mem. that they have standing to
26   bring claims for injunctive relief on behalf of themselves or the class. Indeed, the
     entirety of Plaintiffs’ discussion of standing consists of one sentence alleging that
27   they purchased the shoes because they believed they were “Made in the USA” and
28                                                  11
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 1   so having been fully advised of the qualifications to New Balance’s “Made in the
 2   USA” claims—i.e., that New Balance labels its shoes as “Made in the USA” where
 3   the domestic value equals at least 70%. Therefore, any potential future purchase
 4   would not be the result of their reliance on a false statement.
 5         In order to overcome this obvious standing defect, in each of their
 6   declarations in support of Plaintiffs’ Motion, the named Plaintiffs summarily assert
 7   that he/she would “consider purchasing New Balance made in the USA labeled
 8   shoes in the future if New Balance were to truthfully disclose the actual domestic
 9   and foreign content of the shoes, and price the shoes accordingly.”4 See, e.g.,
10   Declaration of Sheila Dashnaw in Support of Plaintiffs’ Motion for Class
11   Certification (Dashnaw Decl.), ¶ 9 (ECF No. 60-19). However, this statement
12   hardly supports an inference that the named Plaintiffs are imminently likely to be
13   injured by New Balance’s alleged misrepresentations. The deposition testimony of
14   the named Plaintiffs clarified that (1) each of the named Plaintiffs takes the
15   extraordinary position that “Made in the USA” means 100% domestic labor and
16   content—a position not in line with the current state of the law, (2) each of the
17   named Plaintiffs is now aware of and understands the 70% domestic value
18   representation with respect to New Balance shoes marketed as “Made in the USA,”
19   and (3) none of the named Plaintiffs has a present intent to purchase another pair of
20   these shoes. See Ex. 10, Dashnaw Tr. 77:1-13, 80:16-81:7, 82:16-20; Ex. 11, Meier
21   Tr. 21:13-23:3, 72:16-73:19, 74:12-75:7; and Ex. 9, Jones Tr. 22:22-23:9, 50:25-
22   52:4, 57:16-60:3; 68:20-69:8. At this point, not only do the named Plaintiffs have
23   no present intention of purchasing New Balance shoes marketed as “Made in the
24
25   knowingly paid more for the shoes because of that representation and a second
     sentence summarily concluding they have standing. Class Mem. at 7 (ECF No. 60).
26   4
       This statement is incomprehensible. New Balance already truthfully discloses the
27   actual domestic value of its shoes by stating that it is at least 70%. Plaintiffs do not
     challenge that disclosure as untruthful.
28                                               12
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 1   USA,” any decision to purchase those shoes would be with a full understanding that
 2   the shoes contain 70% or greater domestic value.
 3                         The Class Is Not Ascertainable
 4            A class must be adequately defined and clearly ascertainable before a class
 5   action may proceed. See Algarin v. Maybelline, LLC, 300 F.R.D. 444, 454 (S.D.
 6   Cal. 2014) (“A class is sufficiently defined and ascertainable if it is administratively
 7   feasible for the court to determine whether a particular individual is a member.”)
 8   (citations omitted). Plaintiffs’ class definition is inappropriate because (1) it is
 9   unfeasible to identify all potential class members, and (2) the class definition is
10   overbroad and imprecise. While Plaintiffs attempt to argue that the class is
11   ascertainable because “members can be identified based on objective criteria, such
12   as the product they purchased, the date of the purchase, and the location of the
13   purchase,” Class Mem. at 7, Plaintiffs have failed to prove that such criteria are in
14   fact knowable, identifiable, or ascertainable here and for the reasons set forth below
15   any such self-identification is likely to be problematic, to say the least.5
16                         1.     Identification Of Class Members Is Unfeasible.
17            It is not administratively feasible to identify the potential members of the
18   class as Plaintiffs have defined it because such identification necessarily requires (1)
19   self-identification by the purported class members and (2) an inquiry into whether
20   any such individuals have suffered an injury in fact (i.e., whether they were actually
21   misled by New Balance’s qualified “Made in the USA” claim). See W. Rubenstein,
22   Newberg on Class Actions, § 3.3 (5th ed. 2012) (“Administrative feasibility means
23
24
     5
25     Plaintiffs overstate the holding of Briseno v. Conagra Foods Inc., 844 F.3d 1121,
     1125-26 (9th Cir. 2017), claiming that it is no longer a requirement in the Ninth
26   Circuit, at the certification stage, that plaintiffs show an administratively feasible
     way to identify class members. Class Mem. at 7. What the Ninth Circuit held was
27   that a lack of administrative feasibility alone should not prevent certification.
     Briseno, 844 F.3d at 1126 (emphasis added).
28                                                  13
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 1   that identifying class members is a manageable process that does not require much,
 2   if any, individual factual inquiry.”).
 3            First, self-identification likely will be necessary here. New Balance is largely
 4   a wholesaler that sells the vast majority of its shoes to third-party retail stores.
 5   Miller Decl. at ¶ 25. As such, New Balance does not receive or have access to any
 6   identifying information whatsoever regarding the end-consumers who purchase
 7   shoes from those third-party retailers. Id. New Balance only receives and retains
 8   identifying customer information for online sales through its website and in-store
 9   sales to New Balance loyalty members and email list subscribers at (1) New Balance
10   owned brick and mortar stores, of which there are only eight in California and, (2) to
11   a limited degree, licensed New Balance brick and mortar stores, of which there are
12   only six in California. Id. at ¶ 26. To date, Plaintiffs have not requested or
13   conducted discovery to uncover whether any third-party retailers retain such
14   necessary records.
15            While self-identification may be appropriate in some cases, here it is likely to
16   be unreliable and unwieldly.6 As an initial matter, it is unlikely that purported class
17   members retained receipts relating to their purchase of New Balance shoes labeled
18   “Made in USA.” See Red v. Kraft Foods, Inc., No. CV 10-1028-GW(AGRx), 2012
19   U.S. Dist. LEXIS 186948, at *16 (C.D. Cal. Apr. 12, 2012) (“[C]ases where self-
20   identification alone has been deemed sufficient to render a class ascertainable
21   generally involve situations where consumers are likely to have retained receipts …
22   where the relevant purchase was a bigticket item … or where the defendant would
23   have access to a master list of either consumers or retailers who dealt with the items
24   at issue.”) (citations omitted); see also In re POM Wonderful, LLC, No. ML 10-
25   02199 DDP (RZx), 2014 U.S. Dist. LEXIS 40415, at *23 (C.D. Cal. Mar. 25, 2014)
26
     6
27    For the same reasons, the class as proposed fails the fourth factor for
     superiority/manageability under Rule 23(b)(3).
28                                                  14
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 1   (citations omitted) (denying certification where purported class members were
 2   unlikely to have retained receipts or other transaction records). In fact, even the
 3   three named Plaintiffs were unable to locate and provide receipts or other records to
 4   show that they purchased each of the shoes they claim to have purchased at the
 5   prices they claim to have paid. See Ex. 11, Meier Tr. 32:5-8, 41:24-25; Ex. 10,
 6   Dashnaw Tr. 46:16-47:3, 54:5-16; Ex. 9, Jones Tr. 37:19-38:13.
 7            The testimony of at least one of the named Plaintiffs further demonstrates the
 8   inherent unreliability of individuals’ memories and the impracticability of self-
 9   identification here. Compare Ex. 10, Dashnaw Tr. 37:9-13 (Q: So how many pairs
10   of New Balance shoes have you purchased in the last five years? A: Approximately
11   four. Q: Four? A: Four or five. Yeah.) with Ex. 12, Pls. Interrog. Resp., p. 4
12   (“Plaintiff Dashnaw purchased approximately five pairs of New Balance Made in
13   USA shoes…”), and p. 5 (listing approximately six purchases). Based on these
14   purportedly “representative” examples, it is evident that self-identification here will
15   be impractical.7
16            Second, as discussed supra (Section III.A.1), in order to determine whether
17   an absent class member has standing under Article III, the Court must inquire into
18   whether such an individual has suffered an injury in fact. Any such inquiry would
19   likely involve questions, at the very least, of whether the individual (a) saw the
20   “Made in the USA” label; (b) actually considered or was influenced by the “Made in
21
     7
22     Self-identification may be further complicated by the fact that New Balance sells
     hundreds of different models of shoes—only some of which are marketed as “Made
23   in the USA” —and without receipts or the shoes themselves, it is unlikely that
     absent class members will be able to recall the exact model number of the shoe
24   purchased and whether it was labeled “Made in the USA.” See. e.g., Jones v.
     ConAgra Foods, Inc., No. C. 12-01633 CRB, 2014 U.S. Dist. LEXIS 81292, *38
25   (N.D. Cal. June 13, 2014) (finding class to be unascertainable and noting that
     “[a]lthough this Court might be persuaded that a class of ‘all people who bought
26   Twinkies,’ for example, during a certain period, could be ascertained – one would at
     least have more confidence in class members’ ability to accurately self-identify – the
27   variation in the Hunt’s products and labels makes self-identification here
     unfeasible.”).
28                                                  15
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 1   the USA” label; (c) saw and considered the “Made in the USA” label, but also read
 2   and understood the 70% domestic value language on the hangtag, shoebox,
 3   advertising, and/or website prior to purchase; or, (d) saw and considered the “Made
 4   in the USA” label and may not have seen the accompanying disclosures, but was
 5   nevertheless not misled because his or her perception or expectation of “Made in the
 6   USA” was something less than 100%. This necessary factual inquiry makes
 7   certification inappropriate here. See Lucas, 212 F. Supp. 3d at 974 (finding that
 8   administrative feasibility was not met where inquiries would need to be made into
 9   putative class members’ memories of the circumstances surrounding their use of the
10   product resulting in “mini trials”).
11                         2.   The Class Definition Is Overbroad And Imprecise.
12         The class also is not ascertainable because the class definition is overbroad,
13   vague, ambiguous, and imprecise. It is overbroad because it very likely includes
14   individuals who were not injured, and who therefore lack standing, including
15   individuals who (a) did not see the “Made in the USA” labeling; (b) saw the “Made
16   in the USA” labeling but did not consider it in making their purchasing decision; (c)
17   saw and considered the “Made in the USA” labeling, but who also saw and
18   considered the accompanying 70% domestic value language disclosed on the
19   hangtag, shoebox, advertisements and/or website; or, (d) who saw and considered
20   the “Made in the USA” label but have a more realistic notion of what “Made in the
21   USA” means than the named Plaintiffs here (i.e., that “Made in the USA” means
22   something less than 100% domestic content and labor). See supra Section III.A.1.
23   In fact, the Poret Report shows that at least 70% of the individuals in his survey—all
24   potential class members—did not consider whether the shoe was “Made in the
25   USA” in deciding whether to purchase it and therefore could not have been injured.
26   Poret Report at 13.
27
28                                               16
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 1            The class definition is vague, ambiguous, and imprecise in that it fails to
 2   make clear exactly which persons “located within the State of California” would in
 3   fact be class members. See, e.g., Mad Rhino, Inc. v. Best Buy Co., No. CV 03-5604
 4   GPS (AJWx), 2008 U.S. Dist. LEXIS 8619, at *9-13 (C.D. Cal. Jan 14, 2008)
 5   (denying certification where class definitions were vague and unascertainable). It is
 6   entirely unclear what “located” means in this context, and whether an individual
 7   must (a) reside in the State of California, or have resided in the State of California
 8   during the class period; (b) have purchased a pair of New Balance shoes labeled as
 9   “Made in the USA” in the State of California during the class period; or, (c) both
10   reside(d) and have purchased a pair of New Balance shoes labeled in “Made in the
11   USA” in the State of California during the class period.
12                         Plaintiffs Fail To Meet The Strict Requirements Of Rule 23
13            A party seeking to certify a class must demonstrate that is has met all four
14   requirements of Rule 23(a): (1) numerosity, (2) commonality, (3) typicality, and (4)
15   adequacy. See FED. R. CIV. P. 23(a). Plaintiffs’ purported class fails at least three8
16   of these requirements: commonality, typicality (see infra Section III.D), and
17   adequacy (see infra Section III.E). In addition, because Plaintiffs seek certification
18   under Rule 23(b)(3), they must prove (1) that the questions of law or fact common
19   to class members predominate over any questions affecting only individual members
20   and (2) that a class action is superior to other available methods for fairly and
21   efficiently adjudicating the controversy. See FED. R. CIV. P. 23(b)(3). Rule
22   23(b)(3)’s predominance standard requires a stronger showing by Plaintiffs than
23   Rule 23(a)’s “commonality” standard. See Hanlon v. Chrysler Corp., 150 F.3d
24   1011, 1019 (9th Cir. 1998); see also Amchem Prods., Inc. v. Windsor, 521 U.S. 591,
25
     8
26    Plaintiffs’ purported class may very well also fail the numerosity requirement, as
     survey evidence makes clear that the vast majority of class members were not
27   actually misled or injured, but for the purposes of this Opposition, New Balance is
     not challenging the class on that ground.
28                                                  17
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 1   623 (1997) (“The Rule 23(b)(3) predominance inquiry tests whether proposed
 2   classes are sufficiently cohesive to warrant adjudication by representation.”).
 3   Plaintiffs have not met their burden to show that common questions of law or fact
 4   predominate over individual issues here and, as explained above (see infra Section
 5   III.B), there are likely to be exceptional difficulties in managing this as a class
 6   action. Because Plaintiffs’ greatest hurdle, and fatal flaw,9 is their lack proof that
 7   common issues predominate here, New Balance takes up that issue first, followed by
 8   their failure to prove typicality and adequacy.
 9                         1.     Common Issues Do Not Predominate.
10            To make a determination regarding predominance, the Court must analyze
11   each claim separately. See Berger v. Home Depot USA, Inc., 741 F.3d 1061, 1068
12   (9th Cir. 2014) (citation omitted). If significant elements of a claim or defense
13   require individualized proof from each class member, class certification is
14   inappropriate. Amchem, 521 U.S. at 624-25. As set forth below, significant
15   elements of each of Plaintiffs’ claims require individualized proof from each class
16   member. Thus, the class should not be certified.
17            As an initial matter, accepting Plaintiffs’ pleadings as accurate, different class
18   members were exposed to different “Made in the USA” claims.10 There is no
19   question, given the number of times and different places New Balance identifies the
20   70% value qualification, at least some (likely many, if not most) class members
21
     9
       For the same reasons set forth herein, Plaintiffs’ proposed class fails to meet the
22   standard for commonality required under FED. R. CIV. P. 23(a). Commonality
     requires that “the class members have suffered the same injury.” Wal-Mart Stores,
23   Inc. v. Dukes, 564 U.S. 338, 349-50 (2011) (internal quotation and citation omitted).
     While “[t]he existence of shared legal issues with divergent factual predicates is
24   sufficient, as is a common core of salient facts coupled with disparate legal remedies
     within the class,” Hanlon, 150 F.3d at 1019, as demonstrated below, Plaintiffs’ own
25   record and deposition testimony make clear that they were not exposed to the same
     representations that absent class members may have been, and that therefore they
26   are unlikely to have suffered the same injury.
     10
27      New Balance believes that its qualifications are so ubiquitous that nearly all
     putative class members would have been exposed to them, but reserves that position.
28                                                  18
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 1   were exposed to and understood New Balance’s qualified Made in the USA claims.
 2   Plaintiffs claim that they did not. That means that, accepting Plaintiffs’ assertions,
 3   for different class members, how and in what number the representations were
 4   observed by a particular individual, and the extent to which New Balance’s qualified
 5   representations were relied upon, differ from class member to class member. As a
 6   result, common issues about the representations to which class members were
 7   exposed (and how and how many times they were exposed), and upon which they
 8   allegedly relied, do not predominate.
 9         While Plaintiffs may be correct that, under California law, reliance on the part
10   of absent class members need not be shown at the class certification stage, in a FAL,
11   UCL, or CLRA action,11 a presumption of reliance is appropriate only upon a
12   showing that “(1) the misrepresentation was material; and (2) the class as a whole
13   was exposed to it.” Mezzadri v. Med. Depot, Inc., Case No. 14-CV-2330-AJB-
14   DHB, 2015 WL 5107163, at *5 (S.D. Cal. May 12, 2016). Under California law, a
15   misrepresentation is material “if a reasonable [person] would attach importance to
16   its existence or nonexistence in determining his choice of action in the transaction in
17   question.” Steroid Hormone Prod. Cases, 181 Cal. App. 4th 145, 157 (2010)
18   (quoting Engalla v. Permanente Med. Grp., Inc., 15 Cal. 4th 951, 977 (1997)). “If
19   the misrepresentation … is not material as to all class members, the issue of reliance
20   ‘would vary from consumer to consumer’ and the class should not be certified.”
21   Stearns v. Ticketmaster Corp., 655 F.3d 1013, 1022-23 (9th Cir. 2011) (quoting In
22
     11
23     Each of these claims, though comprised of different elements, are treated the same
     under California law for the purposes of class certification. See Otto v. Abbot Labs.
24   Inc., 5:12-cv-01411-SVW-DTB, 2015 WL 9698992, at *5 (C.D. Cal. Sept. 29,
     2015) (“For the purposes of class certification, the UCL, FAL, and CLRA are
25   materially indistinguishable.”) (citations omitted). And, Plaintiffs’ negligent
     misrepresentation claim should also be treated the same for the purposes of class
26   certification. See id. (finding that the same analysis applies to a negligent
     representation claim) (citations omitted). Plaintiffs’ unjust enrichment claim is
27   duplicative of its statutory claims and therefore should be dismissed or, at the very
     least, should rise and fall with the statutory claims for class certification purposes.
28                                               19
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 1   re Vioxx Class Cases, 180 Cal. App. 4th 116, 129 (2009)). Because the alleged
 2   “misrepresentations” here were not in fact “misrepresentations,” the Court need not
 3   reach the test for a presumption of reliance identified above. Should the Court
 4   disagree and find the test necessary, however, the alleged “misrepresentations” were
 5   (a) not material and/or (b) not uniformly made.
 6                                     No misrepresentations were made.
 7         As an initial matter, New Balance disputes that any “misrepresentations” were
 8   made to its California purchasers. As set forth above, see supra Section II, Plaintiffs
 9   do not dispute that New Balance has manufacturing plants in the United States, and
10   that it employs over 1,300 American workers to manufacture shoes in this country.
11   Plaintiffs do not dispute that the shoes New Balance markets as with a qualified
12   “Made in the USA” representation actually contain at least 70% domestic value.
13   Nor do Plaintiffs dispute that New Balance qualifies its “Made in the USA” claims
14   by disclosing, on hangtags affixed to shoes, on shoeboxes, in all advertisements, and
15   throughout its website, that where the domestic value of the shoe is at least 70%, it
16   has been labeled “Made in the USA.” As a result, Plaintiffs cannot show that New
17   Balance—in labeling its shoes in this manner and conscientiously including clear
18   language that discloses the nature of its domestic manufacturing to its consumer—
19   has made any affirmative, or negligent, misrepresentations to its consumers. Thus,
20   no class should be certified.
21                                     Representations were not material.
22         As demonstrated by Mr. Poret’s survey, only a small percentage of California
23   consumers who purchased New Balance shoes labeled as “Made in the USA” in fact
24   attached any importance whatsoever to that label. See Poret Report at 13 (finding
25   that more than 70% of respondents were not influenced by the fact that the shoes
26   were “Made in the USA” when making their decision to purchase). The survey was
27   designed to ask two initial questions to illicit any and all factors or reasons that
28                                               20
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 1   respondents could recall that influenced their decision to purchase the New Balance
 2   shoe.12 Id. at 5-8. The first question was open-ended and allowed respondents to
 3   write in all factors that they could recall that influenced their decision to purchase
 4   the New Balance shoe. Id. at 6-7. Only 2% (6 out of 300 respondents) indicated
 5   that “Made in the USA” influenced their decision to purchase. Id. at 13. In contrast,
 6   the following factors were overwhelmingly found to have played a part in
 7   respondents’ decision to purchase the shoe: (1) look/style/color/design (55.7%); (2)
 8   comfort/feel (50.3%); (3) price/sale/store availability (45.3%); and, (4) fit/size/width
 9   (33.3%). Id. at 31. Comparatively, “Made in the USA” ranked second to last. Id.
10   A follow up question was then asked which provided respondents with a list of
11   possible factors that may have contributed to their decision to purchase the shoes—
12   this included “Shoe is made in the U.S.A.” Id. at 31-32. While a greater number of
13   respondents selected the “Made in the USA” option when it was presented in this
14   list (28.7%), it was still in the bottom half of survey responses. Id. at 32. Again, the
15   most influential factors were: (1) comfort of the shoe; (2) fit of the shoe; (3) look or
16   style of the shoe; and (4) price of the shoe. Id. In light of these results, it is more
17   accurate to say that the average reasonable consumer would not attach much, if any,
18   importance to the label “Made in the USA” in this particular instance and therefore
19   it is hardly “material.” See Steroid Hormone Prod. Cases, 181 Cal. App. 4th at 157.
20         Additionally, where multiple factors play into an individual’s decision to
21   purchase a product, a finding of materiality is likely inappropriate. See Lucas, 212
22   F. Supp. 3d at 969 (finding that issues of materiality and reliance were not subject to
23   generalized proof, but instead “each [purchaser]’s decision-making calculus was
24   dependent upon a variety of information and circumstances specific to the
25
     12
26     By the time survey respondents were asked this question the respondent pool had
     been narrowed to only those respondents who had purchased a New Balance shoe
27   marketed as “Made in the USA” and they were being asked about their purchase of
     that specific shoe model. Id. at 15-23.
28                                               21
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 1   individual.”); Pierce-Nunes v. Toshiba Am. Info. Sys., Inc., No. CV 14-7242-DMG
 2   (KSx), 2016 U.S. Dist. LEXIS 149847, at *24-5 (C.D. Cal. June 23, 2016) (finding
 3   that the question of materiality was not susceptible to class-wide proof where
 4   evidence showed that consumers made purchases of the products at issue based on a
 5   variety of factors); Mezzadri, 2016 WL 5107163, at *6 (“[I]n light of the evidence
 6   showing that a sizeable percentage of the putative class did not consider the
 7   representations at issue, the Court finds the issue of materiality in this case is not
 8   subject to common proof.”); Algarin, 300 F.R.D. at 457 (finding that plaintiffs failed
 9   to demonstrate that the elements of materiality and reliance were subject to common
10   proof where survey results showed that purchasers had a variety of expectations for
11   the product at issue and where there were varying factors influencing purchasing
12   decisions and consumer satisfaction).
13         Plaintiffs’ expert Colin B. Weir attempts to prove through a conjoint survey
14   that a reasonable consumer would attach enough importance to the “Made in the
15   USA” label in this context that it would generate a “price premium,” however, as
16   explained in detail below in Section V.C and in the Expert Report of Sarah Butler
17   (“Butler Report”) (attached to the Declaration of Sarah Butler in Support of New
18   Balance’s Omnibus Memorandum, filed herewith), Mr. Weir’s analysis is fatally
19   flawed and his results are unreliable and irrelevant to the questions raised in this
20   case. And, as explained in detail below in Section V.B and in the Poret Report and
21   Butler Report, Plaintiffs’ other expert, Professor Kysar, similarly attempts to
22   opine—with no evidentiary basis—that the representations made by New Balance in
23   connection with its shoes marketed as “Made in the USA” are likely to confuse or
24   deceive New Balance’s customers. See Poret Report at 38-42; Butler Report at ¶¶
25   72-73, 80. Neither of these purported expert reports support any claim that the
26   alleged misrepresentations here were “material” such that they would justify the
27   presumption of reliance on a class-wide basis.
28                                               22
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 1                                    Alleged “misrepresentations” were not uniform.
 2         “[A] presumption of reliance does not arise when class members ‘were
 3   exposed to quite disparate information from various [sources].” Mazza, 666 F.3d at
 4   595-96. “While proof of individual reliance may not be necessary to assert claims
 5   under the FAL and UCL … [c]ourts in the Ninth Circuit and in California have
 6   regularly found that where such inquiries predominate over common questions …
 7   courts may refuse to certify a class action.” Hodes v. Vans Int’l Foods, No. CV 09-
 8   01530 RGK (FFMx), 2009 U.S. Dist. LEXIS 72193, at *13 (C.D. Cal. July 23,
 9   2009) (internal citations omitted).
10         There are numerous possibilities as to what absent class members (1) had the
11   opportunity to be exposed to, (2) were in fact exposed to, (3) actually read, and (4)
12   actually “internalized” prior to purchasing a pair of New Balance shoes marketed as
13   “Made in the USA.” For example, an individual could have seen (or not seen) any
14   of the following: (1) an advertisement for any number of New Balance shoes
15   marketed as “Made in the USA,” which would have included the 70% qualifying
16   language; (2) a hangtag prominently disclosing the qualifying language attached to a
17   shoe on display in a brick and mortar retail store; (3) a hangtag prominently
18   disclosing the qualifying language attached to a shoe in a shoebox that was brought
19   to the individual to try on in a brick and mortar retail store; (4) representations on
20   the New Balance website relating to its line of “Made in the USA” shoes; (5) the
21   physical “Made in the USA” labels on the shoes themselves; and/or, (6) the
22   disclosure printed on the bottom of the physical shoebox. Because of the
23   widespread variety of experiences that class members may have had with respect to
24   their exposure to New Balance’s qualified “Made in the USA” representations, it is
25   impossible to know which individuals, if any, were in fact misled or deceived by
26   New Balance’s advertising. Such great disparity in potential exposure and
27   understanding further demonstrates that class certification is inappropriate here.
28                                               23
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 1         Indeed, so does a review of Plaintiffs’ own record:
 2         The Hangtags. Plaintiffs do not dispute that New Balance affixes a hangtag
 3   to each pair of shoes that are labeled “Made in the USA” as part of the packaging
 4   process. Ex. 1, Miller Tr. 46:22-48:22; Miller Decl. at ¶ 22. Plaintiffs do not
 5   dispute that the hangtag states:
 6         This pair of shoes was made in one of our American factories, by some
           of our 1,300 American workers. These shoes were produced by our
 7         U.S. workforce using imported and domestic materials. At times, due
           to availability, economic or quality reasons, there is a need to import
 8         materials from foreign sources. Where the domestic value is at least
           70%, we have labeled the shoe “Made in USA.”
 9
     Ex. 4. However, each Plaintiffs’ experience with the hangtag was different. See,
10
     e.g., Ex. 9, Jones Tr. 33:13-23 (“Q: Going back to the purchase that you made of the
11
     990 shoes in May of 2016, do you recall whether there was a cardboard tag on the
12
     shoe when you bought it? A: No, I don’t. I wore the shoes out of the store. I went
13
     in that particular day because my feet hurt. So I — there was no tag on the shoes
14
     when I got the shoe. Q: Okay. A: I don’t know if the clerk took it off, but no.”),
15
     50:25-51:5 (“Q: You’ve been given a document that’s been marked Jones’ Exhibit
16
     6, and I’ll ask you if you’ve ever seen – well, I’ll represent that these are two sides
17
     of a single hangtag. Have you ever seen this before? A: No.”); Ex. 10, Dashnaw Tr.
18
     48:14-24 (“Q: And did the shoes they brought out have a hang tag on them? A: Yes.
19
     Q: What do you recall about that hang tag? A: It looked like a little flag. Flag says
20
     “Made in USA.” Q: And did you flip over that hang tag at all -- A: No. Q: -- to
21
     read what it said? A: No.”)13; Ex. 11, Meier Tr. 44:17-23 (“Q: Okay. And is that
22
     the tag that you were just referring to that was on the shoe, the display model shoe?
23
     A: Yes. Q: Did you ever flip that tag over to read it? A: No.”). At least two of the
24
25   13
       Ms. Dashnaw’s testimony also suggests that the hangtag she saw on the first pair
     of New Balance shoes labeled as “Made in the USA” that she purchased was an
26   earlier version of the hangtag that had additional language, but still included the
     70% value qualification. Ex. 10, Dashnaw Tr. at 49:14-23; see Miller Decl. ¶ 24.
27
28                                               24
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 1   named Plaintiffs were presented with the opportunity to read additional information
 2   that would have clarified and qualified the “Made in the USA” labeling present on
 3   the shoe itself, however neither chose to do so. And, in fact, Plaintiffs’ own expert
 4   acknowledged during his deposition that a purchaser of New Balance “Made in the
 5   USA” labeled shoes could have seen the qualification language set forth on the
 6   hangtag (or elsewhere) 50 times, five (5) times, or not at all prior to purchasing, Ex.
 7   2, Kysar Tr. 99:5-100:2, and that it would take a mere five seconds to read that very
 8   same language, id. 119:1-18.
 9          Plaintiffs’ deposition testimony demonstrates that there is no consistency or
10   commonality with respect to individuals’ shopping experiences. While Plaintiffs
11   have put forth no evidence to dispute the fact that every pair of New Balance shoes
12   labeled as “Made in the USA” leaves the manufacturing facilities with a hangtag
13   affixed, to the extent Plaintiffs claim that they or some of the class members did not
14   see the hangtag or read the hangtag at the point of sale, this merely demonstrates a
15   lack of commonality in consumers’ shopping experiences. Put simply, in the record
16   that Plaintiffs have put forth no commonality or predominance can be found.
17          The Advertising. Plaintiffs also do not dispute that New Balance’s
18   advertising of its “Made in the USA” labeled shoes consistently contains language
19   that is similar, if not identical, to the following:
20          Manufactured in the US for over 75 years and representing a limited
            portion of our US sales, New Balance MADE is a premium collection
21
            that contains a domestic value of 70% or greater.
22   Ex. 3. Some, but not all, of the Plaintiffs recalled seeing a print or television
23   advertisement prior to purchasing a pair of New Balance shoes labeled “Made in the
24   USA,” though none could say whether the advertisement directly related to “Made
25   in the USA.” See Ex. 10, Dashnaw Tr. 40:19-23; 52:3-6 (saw no ads before
26   purchasing first pair); Ex. 9, Jones Tr. 49:8-13 (recalls seeing ad in Runners
27   Magazine for New Balance shoes); Ex. 11, Meier Tr. 36:20-37:2 (recalls seeing
28                                               25
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 1   television ad indicating New Balance sold wide sizes). Some, but not all, of the
 2   Plaintiffs recalled seeing “Made in the USA” signage hanging at the store from
 3   which they purchased their shoes. See Ex. 11, Meier Tr. 17:3-22 (recalls banner
 4   with flag above the shoes); Ex. 10, Dashnaw Tr. 50:4-13, 56:10-16 (no “Made in the
 5   USA” signage at store); Ex. 9, Jones Tr. 29:10-12, 29:22-30:17 (no recollection of
 6   “Made in the USA” signs at store in 2016, but recalls a runner sign with an
 7   American flag on it in 2008). Again, as Plaintiffs do not dispute that New Balance’s
 8   advertisements relating to its “Made in the USA” shoes contain a clear disclosure of
 9   the 70% domestic value, the record as set forth simply reflects a lack of
10   commonality among Plaintiffs and class members relating to what they in fact paid
11   attention to, read, or internalized with respect to this advertising.
12         Website Purchases. Plaintiffs do not dispute that New Balance expressly
13   qualifies its “Made in the USA” labeling and discloses the 70% domestic value
14   standard on its own website regarding its “Made in US” collection, and elsewhere:
15         Manufactured in the US for over 75 years and representing a limited
           portion of our US sales, New Balance Made is a premium collection
16
           that contains a domestic value of 70% or greater.
17   Ex. 5. This representation is displayed throughout the website, including when an
18   individual goes to purchase a pair of shoes. See Ex. 13, New Balance Website,
19   990v4 Product Page. To the extent Plaintiffs claim that website purchasers do not
20   see this language, this is again evidence of lack of commonality in the consumers’
21   shopping experience.
22         The Shoebox. Similarly, Plaintiffs do not dispute that the shoebox that New
23   Balance’s shoes labeled as “Made in the USA” are packaged in contains the
24   following language on the bottom of the box: “Where the domestic value is at least
25   70%, we label our shoes ‘Made in the USA.’” Ex. 8. While the disclosure is on the
26   bottom of the box, in light of the other consistent and prominent ways in which the
27
28                                               26
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 1   qualification is clearly and repeatedly provided to consumers, it is additional
 2   evidence of the prevalence of the qualification.
 3                                       *      *       *
 4         The record shows that Plaintiffs and class members are more than likely to
 5   have disparate experiences and perceptions relating to the purchase of New
 6   Balance’s “Made in the USA” labeled shoes, resulting from a range of exposure to
 7   New Balance’s qualified claims through marketing, advertising, its website, and the
 8   shoes themselves. As such, class certification is improper.
 9                      2.     Reliance and Consumer Perception of “Made in the
10                             USA” Requires an Individual Inquiry.
11         Plaintiffs assert that causation and reliance can be established on a class-wide
12   basis because the California Supreme Court found that “Made in the USA” claims
13   are material under Kwikset Corp. v. Superior Court, 51 Cal. 4th 310 (2011), and
14   material misrepresentations are presumed to cause reliance on a class-wide basis
15   under In re Tobacco II Cases, 46 Cal. 4th 298 (2009) and Stearns v. Ticketmaster,
16   655 F.3d 1013 (9th Cir. 2011). Class. Mem. at 12-13 (ECF No. 60). However, in
17   Kwikset the California Supreme Court merely recognized that “Made in the USA”
18   claims could be material. “In particular, to some consumers, the ‘Made in U.S.A.’
19   label matters.” Kwikset, 51 Cal. 4th at 329 (emphasis added).
20          Moreover, Plaintiffs’ own expert concedes that a determination of how
21   consumers perceive the phrase “Made in the USA,” and whether they were misled,
22   would require an “individualized fact-specific inquiry” – making clear that common
23   issues of fact and law cannot possibly predominate over individuals issues here:
24         Q: … you didn’t conduct a study or experiment to determine whether
25         any consumer was actually misled, correct?

26         A: I did not conduct an experiment to determine whether any consumer
           was actually misled, because that seems like an individualized and
27
28                                              27
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 1         fact-specific question that was not in the nature of – or in the scope of
           my assignment at this preliminary stage.”
 2
     See Ex. 2, Kysar Tr. 50:1-9 (emphasis added). This admission itself demonstrates
 3
     the inappropriateness of class certification here.
 4
           And to the extent that In re Tobacco II and Stearns establish either a
 5
     “presumption” or an “inference” of materiality on a class-wide basis, that
 6
     presumption is clearly rebutted by Mr. Poret’s survey, which shows that the vast
 7
     majority of California consumers who purchased the New Balance “Made in the
 8
     USA” labeled shoes did not rely on, and were in fact not misled by New Balance’s
 9
     labeling. See Poret Report at 13-14.
10
           Finally, it is clear from the multitude of permutations of an individual’s
11
     potential exposure (or non-exposure) to the various placements of New Balance’s
12
     qualified claim and disclosure of 70% domestic value that reliance simply cannot be
13
     presumed here. See Stearns, 655 F.3d at 1020 (“We do not, of course, suggest that
14
     predominance would be shown in every California UCL case. For example, it might
15
     well be that there was no cohesion among the members because they were exposed
16
     to quite disparate information …”). Relatedly, the corresponding multitude of
17
     perceptions of, and ultimately reliance on, any of those representations show that
18
     individual issues of fact and law far outweigh any common, class-wide issues.
19
     Class certification should therefore be denied for failure to meet Rule 23(b)(3)’s
20
     predominance standard, and likewise commonality under Rule 23(a)(2).
21
                         Plaintiffs’ Claims Are Not Typical
22
           While it is clear that Plaintiffs have failed to meet the burden of proof under
23
     Rule 23(b)(3) for predominance, and for that reason alone the Court may deny
24
     certification, Plaintiffs also fail to meet Rule 23(a)’s requirement of typicality.
25
     Plaintiffs argue that typicality is satisfied because the Plaintiffs and putative class
26
     members all purchased New Balance shoes that were labeled “Made in the USA,”
27
     containing “as little as 70 percent domestic content” and that they were therefore
28                                               28
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 1   injured. Class Mem. at 9 (ECF No. 60). But Plaintiffs’ purported “reliance” on the
 2   “Made in the USA” label in making their purchase decision is not typical of a
 3   general consumer, and therefore not typical of the class and does not support
 4   certification. As Mr. Poret found in his survey of 300 California residents who had
 5   purchased at least one pair of New Balance shoes that were labeled “Made in the
 6   USA” since 2015, only a small percentage of purchasers even considered the fact
 7   that the shoes were “Made in the USA” when deciding to purchase. Poret Report at
 8   13 (finding that at most 28% of respondents were potentially influenced by the fact
 9   that the shoe was “Made in the USA”). And in fact, the emphasis placed on this
10   purported reliance in the Amended Complaint and Plaintiffs’ Motion is belied by the
11   Plaintiffs’ own deposition testimony.
12         In order to assess whether or not the named Plaintiffs’ claims are typical, the
13   Court must examine “whether other members have the same or similar injury,
14   whether the action is based on conduct which is not unique to the named plaintiffs,
15   and whether other class members have been injured by the same course of conduct.”
16   Schwartz v. Harp, 108 F.R.D. 279, 282 (C.D. Cal. 1985); see also FED. R. CIV. P.
17   23(a)(3) (“the claims or defenses of the representative parties are typical of the
18   claims or defenses of the class”). As discussed at length above, see supra Section
19   III.C, Plaintiffs and class members have not suffered the same or similar injury, nor
20   are other class members likely to have been injured by the same course of conduct.
21   Instead, the alleged wrongful conduct appears to be fairly unique to these Plaintiffs.
22   See Schwartz v. Upper Deck Co., 183 F.R.D. 672, 683 (S.D. Cal. 1999) (“[T]he
23   court should look at … whether the allegedly wrongful activity is not unique to
24   named plaintiffs”) (quoting Schaefer v. Overland Exp. Family of Funds, 169 F.R.D.
25   124, 128-29 (S.D. Cal. 1996)).
26         First and foremost, Plaintiffs have taken an “all-or-nothing” view of the
27   phrase “Made in the USA.” See Ex. 9, Jones Tr. 15:23-17:1; Ex. 10, Dashnaw Tr.
28                                               29
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 1   17:2-18:12; Ex. 11, Meier Tr. 21:13-22:23 (each testifying that it is their belief that
 2   for something to be considered “Made in the USA” it must be 100% made in the
 3   United States—including all factories, workers, and materials). This extraordinary
 4   position professed by all three named Plaintiffs is not only inconsistent with state
 5   and federal law, it also makes clear that these Plaintiffs are not typical of the vast
 6   majority of class members in their beliefs. See Poret Report at 13 (finding that only
 7   3% of the 300 people surveyed would not consider 70% domestic value to properly
 8   qualify as “Made in the USA”). When assessed in comparison to the survey data
 9   collected by Mr. Poret, and plain common sense, Plaintiffs’ assumptions and
10   actions, or rather inaction, appear highly suspect and certainly not typical of the
11   prospective class.
12         Additionally, these beliefs are not only contrary to California and Federal law,
13   they are at odds with named Plaintiffs’ own view of other products that they
14   consider to be “Made in the USA.” For example, Ms. Jones testified that she
15   believes a Jeep Wrangler may be “Made in the USA,” despite the fact that parts of
16   the car may be made overseas:
17         Q: Okay. And in the same way that you think about New Balance, do
              you believe that means that all of the parts that go into that car are
18
              also made in the United States?
19         A: I haven’t given that – given that much thought, but I figured that it
20            was all assembled here, but I hadn’t compared the car to shoes.
21         Q: Okay. So for instance, if it turns out that some of the car was – some
              of the parts of the car were made overseas but then it was imported
22            and then assembled and all of the assembly was done in the United
23            States, would you still consider that to be sort of a “Made in the
              USA” car?
24
           A: I haven’t considered that. It depends on what percentage, I guess.
25            Because it’s a huge difference between a car and some shoes. So
26            it’s an interesting question.

27
28                                               30
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 1   Ex. 9, Jones Tr. 79:2-80:9; see also Ex. 10, Dashnaw Tr. 83:12-14 (“Q: And what
 2   made you believe that the Chevy Camaro was made in the United States? A:
 3   Because the GM Company is [in the] United States.”). And in their responses to
 4   discovery requests, each of the Plaintiffs listed several items that they believed to be
 5   “Made in the USA” that are similarly not 100% “Made in the USA.” See, e.g., Ex.
 6   12, Pls. Interrog. Resp., pp. 7-8 (Dashnaw: Chevrolet Camaro, Visio television;
 7   Meier: Chevrolet Camaro; Jones: Jeep Wrangler, Dodge Ram, Chevy Monte Carlo).
 8         Additionally, despite the fact that the language explaining the “Made in the
 9   USA” label was available to them in a variety of forms prior to purchasing these
10   shoes, the named Plaintiffs claim that they (1) either did not see or failed to read the
11   hangtag affixed to the pair of shoes they purchased, (2) were not exposed to any
12   advertisements or did not notice the 70% language included in advertisements that
13   they did see, and/or (3) did not do any research into the shoes prior to purchasing or
14   did research but claim not to have seen any of the 70% language that is present on
15   New Balance’s website, and on at least some third-party retailer websites. See
16   supra, Section III.C. Plaintiffs have introduced no evidence that suggests that this
17   complete inattention to marketing language is typical of purchasers of these shoes.
18                       Plaintiffs Do Not Adequately Represent Class
19         Finally, Plaintiffs also fail to meet the requirements under Rule 23(a) for
20   adequacy. Most importantly, the three named Plaintiffs were not motivated to
21   purchase New Balance shoes labeled as “Made in the USA” because of that label,
22   and therefore can hardly have been harmed by that label. See Ex. 9, Jones Tr.
23   38:22-41:7 (describing purchase of Women’s 990s in 2015, noting no recollection of
24   “Made in the USA” signage in the store and that this particular shoe model had been
25   recommended by her orthopedist); Ex. 10, Dashnaw Tr. 39:16-40:1 (“Q: [H]ow did
26   you first learn about New Balance sneakers? A: From a coworker…. Q: And what
27   did your coworker tell you about New Balance shoes? A: She said her doctor
28                                               31
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 1   recommended it for – she had the same knee problem I had.”); Ex. 11, Meier Tr.
 2   49:18-21 (“Q: [W]hat about the 990s did [you] like? A: The fit. Comfortable, wide.
 3   That was about it.”). To the extent that some absent class members were influenced
 4   by, and motivated to purchase the shoes because of, the “Made in the USA” label,
 5   Plaintiffs’ claims are not reflective of those individuals, and as a result Plaintiffs’
 6   claims are likely subject to unique defenses and therefore they can hardly be
 7   adequate representatives of such a class.
 8         Additionally, it was made clear in each of their depositions that Plaintiffs
 9   were not dissatisfied with their purchase(s) of New Balance shoes labeled “Made in
10   the USA.” See Ex. 9, Jones Tr. 52:7-17; Ex. 10, Dashnaw Tr. 52:25-53:18; Ex. 11,
11   Meier Tr. 55:10-18. Instead, Plaintiffs’ lawyers appear to be the driver behind this
12   litigation and, in fact, advertised this lawsuit on the website topclassactions.com in
13   order to troll for potential plaintiffs. See Ex. 14, Meier Deposition Exhibit 1
14   (advertisement for class action against New Balance for “Made in the USA” shoes
15   from December 2, 2016). The website used by Plaintiffs’ counsel even touts its
16   ability to find clients for attorneys. See Ex. 15, https://topclassactions.com/-
17   attorneys/, last accessed November 1, 2017 (“Have a case in mind but don’t have the
18   clients? Advertise on Top Class Actions.”).
19         Each of the Plaintiffs testified that after having seen an advertisement online
20   (either through a popup on Facebook, in an email directly from topclassactions.com,
21   or from speaking with their girlfriend), they filled out a form and were subsequently
22   contacted by Plaintiffs’ counsel, Aubry Wand, in December 2016. See Ex. 9, Jones
23   Tr. 17:2-20:7; Ex. 10, Dashnaw Tr. 18:16-20:6, 26:5-29:25; Ex. 11, Meier Tr.
24   22:24-26:4. The initial Complaint was filed less than a month later on December
25   27, 2016. Certification of a class formed in this manner—spawned by the desire of
26   counsel to generate income and not to redress actual injury to Plaintiffs—is
27   inappropriate and improper. See, e.g., Bodner v. Oreck Direct, LLC, No. C 06-4756
28                                               32
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 1   MHP, 2007 U.S. Dist. LEXIS 30408, *7 (N.D. Cal. Apr. 25, 2007) (denying motion
 2   for class certification where plaintiff's counsel admitted he had researched the
 3   functionality of the air purifier at issue and then went in search of a plaintiff and
 4   holding that “[t]o grant class certification in such circumstances would be to place
 5   this court's imprimatur on litigation practices which it finds abhorrent and
 6   inconsistent with the standards of federal class action suits”); see also Moheb v.
 7   Nutramas Labs, Inc., No. CV 12-3633-JFW (JCx), 2012 U.S. Dist. LEXIS 167330,
 8   at *15 (C.D. Cal. Sept. 4, 2012) (denying certification and finding that where
 9   counsel had been researching the possibility of a class action prior to plaintiff
10   becoming a client, the adequacy prong was not met).
11                       Plaintiffs’ Damages Model Is Unreliable
12         As discussed in detail below in Section V.C, Plaintiffs’ damages model is
13   unreliable, disconnected from Plaintiffs’ theory of harm, and inadequate to calculate
14   damages on a class-wide basis. Mr. Weir’s survey concept and structure simply
15   fails to address the relevant damages at issue here, and as such cannot be of use to
16   the trier of fact. While Mr. Weir admits that the goal of his model was to measure
17   the difference in value between what a customer expected to receive and what they
18   actually received, he: (a) failed to identify what customer expectations with respect
19   to “Made in the USA” actually were, and (b) failed to correctly identify what those
20   customers actually received. As such, his model cannot properly evaluate this
21   difference. And despite his protestations, he cannot simply “fix” his model by
22   making a slight tweak, because—as discussed at length above—customer
23   expectations and perceptions of the phrase “Made in the USA” are highly variable.
24   What is more, his survey is fundamentally flawed for at least four reasons: (1) he
25   surveyed the wrong universe of individuals; (2) he failed to properly replicate
26   market conditions; (3) his survey is biased and overly inflates the value of country
27   of origin; and (4) he failed to account for supply side factors.
28                                               33
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 1         While Courts in the Ninth Circuit have held that “the amount of damages is
 2   invariably an individual question [which] does not defeat class action treatment,”
 3   Blackie v. Barrack, 524 F.2d 891, 905 (9th Cir. 1975), “there is a distinction
 4   between the ‘fact of damages,’ which is essentially a threshold question of
 5   causation and injury in fact, and the ‘amount of damages,’ which involves an
 6   assessment of damages due after resolution of common questions of liability.”
 7   Lucas, 212 F. Supp. 2d at 970 (emphasis added). “This distinction is critical
 8   because while determining the amount of damages does not defeat the
 9   predominance inquiry, a proposed class action requiring the court to determine
10   individualized fact of damages does not meet the predominance standards of Rule
11   23(b)(3).” Id. (internal quotations and citations omitted).
12         Mr. Weir also improperly bases his price premium damages at least in part on
13   the assumption that New Balance prices its shoes based on rational, efficient market
14   decisions. See In re POM Wonderful, LLC, 2014 U.S. Dist. LEXIS 40415, at *18
15   (“In an inefficient market, in contrast, some information is not reflected in the price
16   of an item. In such a market, even a material misrepresentation might not
17   necessarily have any effect on prices. Absent such traceable market-wide influence,
18   and where, as here, consumers buy a product for myriad reasons, damages resulting
19   from the alleged misrepresentations will not possibly be uniform or amenable to
20   class proof.”) (citing In re Genesisintermedia, Inc., No. CV 01-9024-SVW, 2007
21   U.S. Dist. LEXIS 95253 at *40-1 (C.D. Cal. June 28, 2007)). But as explained
22   above, New Balance’s decision to maintain its domestic manufacturing is likely not
23   a “rational, efficient market decision,” as the operational costs are higher and
24   margins are lower; rather it is driven by the leadership’s commitment to its
25   American workers.
26         For all of these reasons, class certification is particularly inappropriate here
27   and Plaintiffs’ Motion should be denied.
28                                               34
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 1        IV.   OPPOSITION TO REQUEST FOR JUDICIAL NOTICE
 2          Plaintiffs have requested that the Court take judicial notice of two documents:
 3   (1) Exhibit A, Federal Trade Commission, In the Matter of iSpring Water Systems,
 4   LLC, Docket No. C-4611; and (2) Exhibit B, Federal Trade Commission Advisory
 5   Opinion Digests. Judicial notice is appropriate for an adjunctive fact “that is not
 6   subject to reasonable dispute because it: (1) is generally known within the trial
 7   court’s territorial jurisdiction; or (2) can be accurately and readily determined from
 8   sources whose accuracy cannot reasonably be questioned.” FED. R. EVID. 201.
 9   However, a court may only take judicial notice of undisputed matters of public
10   record. See Walker v. Woodford, 454 F. Supp. 2d 1007, 1022 (S.D. Cal. 2006)
11   (finding the proper subject matter for judicial notice to be “sources whose accuracy
12   cannot reasonably be questioned, for example, almanac, dictionary, calendar or
13   similar source”) (quoting U.S. v. Jones, 29 F.3d 1549, 1553 (11th Cir. 1994)).
14          New Balance does not dispute that the documents in question are part of the
15   public record. However, judicial notice of public records does not extend to the
16   truth of the facts or legal opinions contained therein. See, e.g., Lee v. City of L.A.,
17   250 F.3d 668, 690 (9th Cir. 2001) (noting that “when a court takes judicial notice of
18   another court’s opinion, it may do so ‘not for the truth of the facts recited therein,
19   but for the existence of the opinion, which is not subject to reasonable dispute over
20   its authenticity.’”) (quoting S. Cross Overseas Agencies, Inc. v. Wah Kwong
21   Shipping Grp. Ltd., 181 F.3d 410, 426-27 (3d Cir. 1999)).14 As such, “the veracity
22   and validity” of the contents of these documents should not be judicially noticed.
23   See, e.g., Branca v. Nordstrom, Inc., No. 14cv2062-MMA (JMA), 2015 U.S. Dist.
24   LEXIS 99157, at *19 n.5 (S.D. Cal. Mar. 19, 2015) (taking judicial notice solely of
25
     14
26      See also In re Easysaver Rewards Litig., 737 F. Supp. 2d 1159, 1166 (S.D. Cal.
     2010) (“A district court cannot take judicial notice of a fact that is subject to
27   ‘reasonable dispute’ simply because it is contained within the public record.”)
     (citation omitted).
28                                               35
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 1   the existence of another court’s opinion); see also Clark, 97 F. Supp. 3d at 1202-03
 2   (granting judicial notice of FTC opinions available in Federal Register only for the
 3   existence of the matters, not for the truth of the matters within).
 4      V.      MOTION TO EXCLUDE PLAINTIFFS’ EXPERTS’ REPORTS
 5           The Court should exclude the opinions of Plaintiffs’ experts Douglas A.
 6   Kysar and Colin B. Weir, as set forth in their Declarations (ECF No. 60-22 (“Weir
 7   Declaration”), ECF No. 60-23 (“Kysar Declaration”), and ECF No. 66 (“Weir
 8   Supplemental Declaration”)), because neither satisfies the requirements of FED. R.
 9   EVID. 702 or Daubert v. Merrell Dow Pharm., 509 U.S. 579 (1993). Specifically,
10   Prof. Kysar relies on his “expertise” as a law professor to offer a speculative and
11   quasi-legal opinion that does not consider the facts of this case and is premised
12   entirely on irrelevant or unreliable academic literature. For his part, Mr. Weir offers
13   a “conjoint survey” intended to illustrate a purported class-wide damages theory.
14   His opinion is not helpful to the trier of fact and unreliable because his survey poses
15   (and thus answers) the wrong question to the wrong people.
16                       Legal Standard
17           A proffered expert must, at a minimum, be qualified “by knowledge, skill,
18   experience, training, or education,” to opine on a topic that will “help the trier of
19   fact understand the evidence or determine a fact at issue.” FED. R. EVID. 702.
20   Additionally, the opinions must be (1) “based on sufficient facts or data,” (2) the
21   result of “reliable principles and methods,” and (3) a reliable application of “the
22   principles and methods to the facts of the case.” Id. The Court should consider
23   expert admissibility issues at the class certification phase. Stone v. Advance Am.,
24   Cash Advance Ctrs. Inc., 278 F.R.D. 562, 566 (S.D. Cal. 2011) (“[A] district court
25   should apply the Daubert evidentiary standard to evaluate the reliability of expert
26   testimony before turning to the rigorous Rule 23 analysis”) (citing Ellis v. Costco
27   Wholesale Corp., 657 F.3d 970, 982 (9th Cir. 2011).
28                                               36
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 1                       Professor Kysar’s Opinions Should Be Excluded
 2         Prof. Kysar’s primary opinion offered is that consumers are likely to be
 3   misled by New Balance’s “Made in the USA” labeling because a “reasonable
 4   consumer” would understand “Made in the USA” to mean all or substantially all of
 5   the product is made in the United States. “Kysar Decl. at ¶¶ 5, 38-9 (ECF No. 60-
 6   23). To support that opinion, he further opines that consumers seek out “Made in
 7   the USA” sneakers, but are unlikely to read the entirety of New Balance’s qualified
 8   claim and, even if they do, they are unlikely to understand and internalize it. Id. at
 9   ¶¶ 38-9. Prof. Kysar also opines that New Balance is attempting to trade on this
10   confusion. Id. Prof. Kysar’s opinions and testimony should be excluded because:
11   (1) he is not qualified to offer any of the opinions he sets forth; (2) he failed to
12   consider any of the facts relevant to this matter; (3) he instead attempts to draw
13   conclusions from pre-existing research, which is either irrelevant, unreliable, or
14   contradicts his opinions; and, (4) his opinion is merely speculative.
15                       1.     Professor Kysar Is Not A “Qualified” Expert.
16
           As an initial matter, Prof. Kysar lacks the expertise to offer the opinions in his
17
     report. “The Ninth Circuit has defined this as the threshold issue in determining
18
     whether a witness may come ‘before the jury cloaked with the mantle of an expert[]’
19
     under Rule 702, and has cautioned that ‘care must be taken to assure that a proffered
20
     witness truly qualifies as an expert, and that such testimony meets the requirements
21
     of [that] Rule[.]’” Shalaby v. Irwin Indus. Toll Co., No. 07CV2107-MMA (BLM),
22
     2009 U.S. Dist. LEXIS 129812, at *36 (S.D. Cal. July 28, 2009) (quoting Jinro Am.
23
     Inc. v. Secure Invs., Inc., 266 F.3d 993, 1004 (9th Cir. 2001)). Prof. Kysar states
24
     that he is an expert in “torts, consumer protection, products liability, and
25
     environmental law.” Kysar Decl. at ¶ 8 (ECF No. 60-23). Prof. Kysar further
26
     describes his relevant expertise as behavioral law and economics. See Ex. 2, Kysar
27
     Tr. 17:7-18:16. Despite his alleged expertise in behavioral law and economics, Prof.
28                                               37
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 1   Kysar does not have an educational background in any of the fields that would
 2   generally be required to formulate these opinions. Specifically, Prof. Kysar does not
 3   have any substantive education or background in consumer perception (id. at 14:20-
 4   15:3), surveys or survey design (id. at 15:4-6), statistics or statistical analysis (id. at
 5   15:7-22), or psychology (id. at 15:23-17:4).
 6          While it is not always necessary to have a formal education in order to be
 7   considered an expert on a topic, Prof. Kysar also lacks the substantive, related
 8   experience to opine on consumer perception of “Made in the USA” labels, the
 9   importance of “Made in the USA” claims to consumers, or any other opinion made
10   by Prof. Kysar in his declaration. Prof. Kysar’s academic experience in the area of
11   country-of-origin is limited to a single paper he authored in 2004. See Ex. 16,
12   Douglas A. Kysar, Preferences for Processes: The Process/Product Distinction and
13   the Regulation of Consumer Choice, 118 HARV. L. REV. 525 (2004) (“Kysar
14   Article”); Ex. 2, Kysar Tr. 22:4-12; 23:16-20. And even this paper only has a mere
15   citation to a single article in a footnote. Ex. 16, Kysar Article at 525 n.36; Ex. 2,
16   Kysar Tr. 22:20-23:15. Together all of these shortcomings make it clear that “even
17   though [Kysar] might possess credentials to render some expert opinion, the trial
18   court may, and perhaps must, exclude on grounds of disqualification any testimony
19   that extends beyond the witness’s demonstrated expertise.” In re Foundry Resins
20   Antitrust Litig., 863 F. Supp. 2d 966, 995 (C.D. Cal. 2012) (internal quotations
21   omitted).
22                        2.     Professor Kysar’s Opinions Do Not Rely On Any
                                 Actual Facts.
23
            Prof. Kysar’s opinions have no factual basis because he did not even attempt
24
     to determine any of the relevant facts. See Harrison v. Howmedica Osteonics Corp.,
25
     No. CIV 06-0745 PHX RCB, 2008 U.S. Dist. LEXIS 26197, at *57 (D. Ariz. Mar.
26
     27, 2008) (proffered expert testimony cannot be excessively speculative nor lack
27
     sufficient factual support) (citing Daubert, 509 U.S. at 595); Brooke Grp. Ltd. v.
28                                               38
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 1   Brown & Williamson Tobacco Corp., 509 U.S. 209, 242 (1993) (“[W]hen an expert
 2   opinion is not supported by sufficient facts to validate it in the eyes of the law, . . . it
 3   cannot support a jury’s verdict.”); U.S. v. Rushing, 388 F.3d 1153, 1156 (8th Cir.
 4   2004) (“Expert testimony should not be admitted when it is speculative, it is not
 5   supported by sufficient facts, or the facts of the case contradict or otherwise render
 6   the opinion unreasonable.”).
 7          Prof. Kysar admits that he did not do any of the following: conduct any
 8   empirical study, conduct any consumer interviews, conduct any interviews of
 9   anyone who bought a New Balance “Made in the USA” labeled shoe (Ex. 2, Kysar
10   Tr. 40:25-41:13); consider any information about the named Plaintiffs (id. at
11   212:22-213:8); visit a New Balance store, or a store that sells New Balance “Made
12   in the USA” products (id. at 41:14-25, 47:10-25, 96:12-15); go through the process
13   of buying a “Made in the USA” New Balance sneaker (id. at 41:14-25); review the
14   product packaging or look at a physical New Balance “Made in the USA” sneaker
15   (id. at 47:10-48:6); visit a New Balance factory (id. at 62:13-18); or, ask for any
16   information about New Balance’s customers or the “Made in the USA” product line
17   (id. at 46:3-16, 60:25-61:18, 62:7-13).
18          Prof. Kysar, accordingly, admits that he does not know any of the following:
19   whether New Balance’s “Made in the USA” labeling garners goodwill (id. at
20   238:22-239:2); whether those customers who purchased “Made in the USA” shoes
21   actually cared that shoes were labeled as such (id. at 247:9-11, 238:5-10); what
22   consumers’ perceptions of quality with respect to “Made in the USA” shoes are (id.
23   at 79:1-21, 149:2-151:22, 167:21-168:22); whether consumers sought out “Made in
24   the USA” products (id. at 238:5-10); whether and what percent of consumers read
25   the “Made in the USA” labeling (id. at 160:19-161:4, 270:14-25); whether and what
26   percent of consumers understood the “Made in the USA” labeling (id. at 101:19-
27   103:11, 234:2-24); why New Balance carries a “Made in the USA” line (id. at
28                                               39
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 1   45:22-46:2, 105:7-107:20); whether that product line is profitable (id. at 46:3-10);
 2   how many factories New Balance has in the United States or how many factory
 3   workers New Balance has in the United States (id. at 61:11-62:18); or, any
 4   demographic information about New Balance’s customers (id. at 227:10-13).
 5         Accordingly, Prof. Kysar has no factual basis to offer any opinion concerning
 6   what a consumer who purchased New Balance’s “Made in the USA” shoes may or
 7   may not have seen, believed, or understood about New Balance’s qualified labeling,
 8   whether that labeling is misleading, or New Balance’s motivation for the labeling.
 9   His opinions should be excluded for failing to rely on a sufficient factual basis.
10                       3.     Professor Kysar Does Not Base His Opinions On
                                Reliable Methods Or Processes.
11
           Rather than consider facts, Prof. Kysar relies exclusively on non-original
12
     studies and articles to formulate his opinions on consumer perception and the
13
     purported harm stemming from New Balance’s qualified claims. Even if that were
14
     an acceptable method by which to approach the question of whether consumers are
15
     misled by New Balance’s labeling—it is not—the articles Prof. Kysar depends on
16
     are either irrelevant or unreliable.
17
           Before an expert’s opinion may be determined to be admissible, the court
18
     must “make a preliminary assessment of whether the reasoning or methodology
19
     underlying the testimony is . . . valid.” Daubert, 509 U.S. at 600. The absence of
20
     any discernable principles and methods in his report is a sufficient basis to exclude
21
     Prof. Kysar’s declaration. See Pecover v. Elec. Arts Inc., No. C 08-2820 VRW,
22
     2010 U.S. Dist. LEXIS 140632, at *20 (N.D. Cal. Dec. 21, 2010) (finding expert
23
     opinion unreliable where no methodology was shown for relying on information and
24
     the “opinion [was] connected to existing data only by the ipse dixit of the expert”);
25
     Morin v. McCulloch Corp., No. CV 01-6431 SVW (SHx), 2002 U.S. Dist. LEXIS
26
     28196, at *14 (C.D. Cal. July 2, 2002) (excluding an expert in for failing to describe
27
     the methodology used to assess the effectiveness of warning labels).
28                                               40
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 1         First, it is unclear what “methods” Prof. Kysar used to determine which
 2   materials to rely on for his declaration. Ex. 2, Kysar Tr. 40:8-20. Prof. Kysar does
 3   not explain how he chose the studies he reviewed, or how he went about analyzing
 4   the relevance of the studies to the facts at issue. In fact, there can be little doubt that
 5   Prof. Kysar applied no methodology whatsoever in the mere twelve hours he spent
 6   reviewing academic materials and creating and drafting his report. See Ex. 2, Kysar
 7   Tr. 56:22-57:8 (answering that in total he spent approximately 12 hours on his report
 8   with no assistance).
 9         Second, nearly all the materials Prof. Kysar relies on are irrelevant to the key
10   question: whether the putative class of consumers are misled by New Balance’s
11   qualified “Made in the USA” representations.15 Notably, none of the studies he
12   relies on address: New Balance’s specific, and qualified, “Made in the USA” claims
13   (id. at 91:24-95:8, 108:17-109:3); “Made in the USA” claims on footwear (id. at
14   108:13-16); or, qualified “Made in the USA” claims generally (id. at 93:21-94:2,
15   260:20-261:2). None of these studies address California consumers (id. at 109:4-25)
16   and all of these studies are at least 10 years old (id. at 190:17-20). Accordingly,
17   none of the articles Prof. Kysar relies on provide any basis to offer an opinion on
18   New Balance’s qualified “Made in the USA” claim and the consumer perception of
19   that language.16
20   15
        The majority of studies Prof. Kysar references focus on topics that are unrelated to
     the issues in this case, such as labor conditions (i.e., sweatshops, forced child labor),
21   Kysar Decl. ¶¶ 21, 23 (ECF No. 60-23), “moral taint” (i.e., buying a Hitler-owned
     sweater, blood diamonds), id. at ¶ 23, and Kosher or Halal standards, id. at ¶ 22.
22   The few country of origin studies that Prof. Kysar cites do not address qualified
     “Made in the USA” labeling. Those articles, instead, are directed to looking at
23   feelings with respect to a country-of-origin claim (positive or negative), which Prof.
     Kysar acknowledges is an entirely different question than whether the country of
24   origin drove a purchasing decision and to what degree. See Ex. 2, Kysar Tr. 190:25-
     191:7.
25   16
        When relying on the studies of others, expert opinions that exceed the opinions
26   within the original studies must be found unreliable. See Gen. Elec. Co. v. Joiner,
     522 U.S. 136, 145-47 (1997) (holding that when four original studies did not
27   conclude causation to group, the study could not be relied upon to conclude
     causation in an unrelated individual).
28                                               41
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 1          Third, at best, Prof. Kysar relies on two articles related to “Made in the USA”
 2   labeling generally, but these studies are equally flawed and, even if considered
 3   reliable, actually contradict Prof. Kysar’s opinions. See Ex. 2, Kysar Tr. 38:17-
 4   39:13 (referencing the Maronick articles as two articles he cited that include studies
 5   directly relating to “Made in the USA” claims); see generally Ex. 17,Thomas J.
 6   Maronick, An Empirical Investigation of Consumer Perceptions of “Made in USA”
 7   Claims, 12 INTERNATIONAL MARKETING REVIEW 15, 29 (1995) (“Maronick 1995”);
 8   Ex. 18, Thomas J. Maronick, Country of Origin – Does It Matter Anymore?,
 9   MARKETING IN TRANSITION: SCARCITY, GLOBALISM. & SUSTAINABILITY 271, 274
10   (Colin L. Campbell, ed., 2005) (“Maronick 2005”) (together “the Maronick
11   articles”).
12          In addition to the failings noted above of all of the articles Prof. Kysar relies
13   on, despite using the two Maronick articles as the cornerstone of his opinion about
14   New Balance’s labeling, Prof. Kysar fails to undertake any effort to determine the
15   reliability of these studies.17 Prof. Kysar failed to review: any of the underlying
16   survey instruments (see Ex. 2, Kysar Tr. 194:6-9); raw data (id. at 194:2-5);
17   methodology or protocols, including the interview questions, stimulus, or
18   representativeness of the sample (id. at 194:10-13); or, the geographic makeup of
19   the sample (id. at 109:8-13). Moreover, Prof. Kysar acknowledged that the
20   Maronick surveys are mall intercept surveys, which have inherent flaws and
21   limitations, including the fact that they did not simulate a purchasing situation. Id. at
22   213:23-215:5.18 And, the studies are ten and twenty-years old, respectively, which
23
24
     17
        This is likely because he is not qualified to do so. Prof. Kysar has minimal
25   experience in survey and survey design. See Ex. 2, Kysar Tr. 15:4-6, 18:17-22:3.
     18
26      The first Maronick article Prof. Kysar relies on is from 1995, using data collected
     in 1990. Ex. 17, Maronick 1995 at 18 (“The data were collected in Autumn,
27   1990.”). In his deposition, Prof. Kysar acknowledges that data from this long ago
     would be unreliable. See Ex. 2, Kysar Tr. 207:23-208:11.
28                                               42
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 1   Prof. Kysar admits limits their reliability. See Ex. 2, Kysar Tr. 207:23-208:11.
 2   Thus, they provide no reliable basis for his purported opinions.
 3         Even if these studies were reliable, the studies draw conclusions that
 4   contradict Prof. Kysar’s opinions:
 5          The Maronick 1995 study found that “Made in the USA” labeling is not an
             important factor for consumers when making a purchasing decision. Ex.
 6
             17, Maronick 1995 at 29 (“[T]he ‘made in USA’ cue was not important for
 7           either complex unfamiliar products or for simple, familiar products raises
 8           questions about the overall importance of country of origin claims.”).
            Maronick’s 2005 follow-up concludes that “Made in the USA” labeling is
 9
             even less important then than it was in 1995. Ex. 18, Maronick 2005 at
10           274 (“[C]onsistent with prior empirical research, [Country-of-Origin]
             claims are among the least important factors in . . . purchase
11
             decisions.”).19
12
            “Made in the USA” claims do not necessarily convey a product has a
13           positive attribute, such as higher quality, and in some instances more than
             half of consumers associate bad quality with “Made in the USA” labeled
14
             products. See Ex. 17, Maronick 1995 at 29-30 (“[T]he addition of a ‘made
15           in USA’ claim may be wasted.”).20
16          The importance of “Made in the USA” varies by product type. Ex. 2,
             Kysar Tr. 219:12-17, 219:18-21, 219:22-25, 220:1-18, 220:19-22, 220:23-
17
             221:4, 221:5-15.
18          The importance of Made in the USA varies by customer demographic. See
19           Ex. 17, Maronick 1995 at 28-29; See Ex. 2, Kysar Tr. 79:4-80:24.
20   Accordingly, these articles cannot provide a reliable basis for Prof. Kysar’s opinions.
21         Fourth, Prof. Kysar ignored relevant research. Specifically, Prof. Kysar did
22   not address (and appeared to not have even noticed prior to his deposition), the 1995
23
24   19
        Notably, Prof. Kysar agrees with Maronick’s conclusion that “Made in the USA”
     labeling is unimportant. See Ex. 2, Kysar Tr. 221:5-15.
25   20
        Maronick also concludes that perception of quality of the product varies inversely
26   with the importance of the country of origin labeling, i.e., for a product with a
     perception of high quality, the country of origin claim matters less. Ex. 17,
27   Maronick 1995 at 29-30. Prof. Kysar, however, testified that he did not know the
     perception of quality of New Balance’s product. See Ex. 2, Kysar Tr. at 233:3-5.
28                                               43
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 1   Attitude Survey results reported in in the FTC Guidelines directly addressing New
 2   Balance sneakers. See 62 Fed. Reg. 63756, 63764. Specifically, according to the
 3   Guidelines, that study concluded that “where a product was assembled in the United
 4   States, a significant majority of consumers agreed that a “Made in USA” claim
 5   would be appropriate if the product contained either 70% U.S. content (67% of
 6   respondents) or 90% U.S. content (75% of respondents).” Id. Prof. Kysar, however,
 7   failed to consider this study at all in forming his conclusions, despite it being
 8   prominently discussed in one of the only three references related to “Made in the
 9   USA” claims that he relies on. See Ex. 2, Kysar Tr. 199:23-200:12 (“Q: Would you
10   want to see [the 1995 Attitude] survey in connection with forming your opinions in
11   this case? . . . A: . . . So let me put it this way. I would certainly look at the
12   underlying survey as part of further analysis of this issue.”).
13         Rule 702 requires that an expert’s opinions be “the product of reliable
14   principles and methods.” FED. R. EVID. 702(c). Because Prof. Kysar failed to apply
15   any discernable methodology or reliable process when formulating his opinions in
16   this case Prof. Kysar’s testimony should be excluded.
17                       4.     Professor Kysar’s Opinions Are Merely Speculative
                                And Subjective.
18
           Because Prof. Kysar did not consider the facts at issue, and because none of
19
     the academic research he relies on is either relevant or reliable, Prof. Kysar’s
20
     opinions are nothing more than his own, untested, subjective beliefs. That is not a
21
     valid basis for an expert opinion.
22
           Rule 702 requires “more than subjective belief or unsupported speculation.”
23
     See Claar v. Burlington N. R.R., 29 F.3d 499, 502 (9th Cir. 1994) (upholding the
24
     exclusion of expert testimony because “the experts’ conclusions about the cause of
25
     these conditions are [not] based on anything more than subjective belief and
26
     unsupported speculation.”). Prof. Kysar’s half-baked opinion is littered with his
27
     subjective beliefs, but a few are illustrative of his failings.
28                                               44
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 1         Prof. Kysar’s key opinion is that consumers are likely to be misled by New
 2   Balance’s labeling. Kysar Decl. at ¶¶ 5, 36, 39 (ECF No. 60-23). Prof. Ksyar
 3   admits, however, he did not conduct any original research related to the actual
 4   language at issue (by way of a survey or consumer interviews) and none of the
 5   academic articles he relies on address this language either. Ex. 2, Kysar Tr. 49:25-
 6   50:9, 91:24-95:8, 108:17-109:3. Instead, he relies on his subjective opinion that
 7   New Balance’s disclaimer is “inherently vague or incomprehensible.” Id. at 100:12-
 8   15. That Prof. Kysar claims he could not understand the language is irrelevant, and
 9   says nothing to the class of consumers at issue in this matter. Similarly, he opines
10   that even a “motivated expert” could not understand New Balance’s disclaimer
11   language. Kysar Decl. at ¶ 35 (ECF No. 60-23). At his deposition, he defined
12   “motivated expert” as an “accountant” or “value chain manager,” but admits he did
13   not do any study of any of these types of experts to see if they understood the
14   language or not. Ex. 2, Kysar Tr. 277:11-278:5.
15         Further to support this opinion, he concludes that consumers are unlikely to
16   read and internalize the entirety of New Balance’s “Made in the USA” label. Kysar
17   Decl. at ¶¶ 5, 33 (ECF No. 60-23). But again, he acknowledges he conducted no
18   empirical research (Ex. 2, Kysar Tr. 40:25-41:13) and none of the articles that he
19   relies on for this point address New Balance’s qualified claim language (id. at
20   91:24-95:8, 108:17-109:3) or any qualified “Made in the USA” labeling at all (id. at
21   93:21-94:2, 260:20-261:2).
22         In line with this opinion, Prof. Kysar also refers to New Balance’s “Made in
23   the USA” labeling as “idiosyncratic.” Id. at 88:20-89:3. Prof. Kysar, however,
24   admits that he undertook no research effort to determine what the landscape of
25   “Made in the USA” labeling actually looks like to determine if that is the case. Id.
26   at 89:1-90:2. Rather, his opinion is drawn only from his misplaced reliance on a
27   single article from 20 years ago that consumers believe “Made in the USA” means
28                                              45
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 1   all or almost all Made in the USA (see Ex. 17, Maronick 1995 at 25). And, indeed,
 2   he ignores that this same article concludes that “Made in the USA” labeling is
 3   unimportant.21
 4         As an underpinning of these opinions, Prof. Kysar assumes that individuals
 5   are motivated to seek out “Made in the USA” goods, making the labeling material to
 6   consumers. Ex. 2, Kysar Tr. 36:20-37:1. This not only ignores the Maronick
 7   research that says that consumers do not care about country of origin labeling (see
 8   Ex. 17, Maronick 1995 at 30 (“[T]he addition of a ‘made in USA’ claim may be
 9   wasted”; Ex. 18, Maronick 2005 at 274 (“[County of origin] claims are among the
10   least important factors in their purchase decisions”), but Prof. Kysar also admits he
11   does not have any factual support to know if that is the case for New Balance’s
12   “Made in the USA” labeled sneakers. Ex. 2, Kysar Tr. 86:18-87:4. Indeed, this is
13   underscored by the fact that Prof. Kysar’s reasoning is based on an assumption that
14   New Balance has the “Made in the USA” product line because consumers care
15   about it and New Balance is a profit-maximizing entity. Id. at 44:3-45:21, 105:7-
16   107:20. Prof. Kysar, however, admits that he has no information whatsoever about
17   why New Balance started or maintains its “Made in the USA” product line and that
18   he does not know the specific profit margins on the “Made in the USA” shoes. Id.
19   at 46:3-10.
20         Simply put, Prof. Kysar’s opinions are not grounded on either the facts of this
21   case or research that addresses those facts. Prof. Kysar admits these failings:
22          Q: And none of what you did looked at actual consumers who were
             involved in the process of buying a Made in the USA New Balance
23
             shoe, correct? A: To this stage in the proceedings, no. Id. at 51:19-
24           24.
25   21
        Despite the Maronick Articles being Kysar’s key references, he also does not
26   attempt to apply Maronick’s holdings that the importance of Made in the USA
     labeling varies by both product type and customer demographic to the facts at hand.
27   Indeed, Kysar admits that sneakers are not addressed by Maronick, and that he has
     no information as to New Balance’s customer demographics.
28                                               46
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 1          Q: And, so just to be clear, none of what you looked at address[es]
             the actual labels or disclaimers at issue here, correct? A: That’s
 2           right. Id. at 51:15-18.
 3          Q: Was the question you were asked to answer unique to New
 4           Balance Made in the U.S.A. sneakers? A: I don't believe so. Id. at
             43:12-15.22
 5
           While Prof. Kysar’s approach may be acceptable for a research paper, that is
 6
     not the standard applied to an expert opinion in litigation and particularly not to an
 7
     opinion being offered to support whether there is an ascertainable class of people in
 8
     California who have been harmed by New Balance’s actual label on real products.
 9
           For all of these reasons, the Court should grant New Balance’s Motion to
10
     Exclude the Declaration of Douglas A. Kysar.
11
                         Mr. Weir’s Opinions Should Be Excluded
12
           The opinions and testimony offered by Colin B. Weir should be excluded by
13
     this Court for three main reasons: (1) Mr. Weir’s deposition testimony suggests that
14
     he is not a “qualified” expert under the standards set forth in Rule 702; (2) Mr.
15
     Weir’s survey concept and structure fails to address the relevant damages as alleged
16
     by Plaintiffs; and, (3) Mr. Weir’s survey methodology is fundamentally flawed.
17
                         1.    Mr. Weir Is Not A “Qualified” Expert.
18
           Mr. Weir has been qualified as an expert in other matters and by other courts,
19
     and a review of his credentials on paper appears to reflect that he should be a
20
21
     22
22     Prof. Kysar acknowledges that his task was merely theoretical. See Ex. 2, Kysar
     Tr. 50:17-51:9 (“Q. Well, you were asked, in part, to opine on whether you think
23   people would be misled by the labeling, correct? A: I was asked to think sort of at an
     abstract level. Like imagine there's a creature called the reasonable consumer acting
24   under the circumstances of this campaign, would that individual, this is a
     hypothetical individual, would that individual likely be misled by the various claims
25   and purported disclaimers of this campaign? So the nature of the assignment is not
     pitched towards generating granular or original survey or experimental evidence, but
26   the nature of this assignment is to talk about that kind of collective hypothetical
     entity, the reasonable consumer targeted under these circumstances.”). Notably,
27   when asked, Prof. Kysar could not define either “reasonable” or “targeted”
     consumer. See id. at 31:15-34:13; 94:11-95:12.
28                                               47
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 1   qualified expert in economics. However, Mr. Weir’s deposition testimony shows
 2   that he is not genuinely qualified to offer opinions to this Court.
 3         In his initial Weir Declaration (ECF No. 60-22), Mr. Weir expressed the
 4   asserted price premium paid by putative class members through the following
 5   simple (though incorrect) mathematical formula: 10.1/100 = 11.23%. At his
 6   deposition, when the mistake in the basic equation was pointed out, Mr. Weir was
 7   asked to confirm that, in fact, 10.1/100 equals 10.1%, rather than 11.23%. In
 8   response, Mr. Weir professed an inability to perform simple math, “[a]gain, I’m
 9   terrible at mental math, so I’ll have to reserve until I get a calculator.” See Ex. 19,
10   Colin B. Weir Deposition Transcript (“Weir Tr.”), 232:4-6, 231:25-233:12. When
11   offered a calculator to confirm whether the math was indeed correct, he continued to
12   refuse to perform such calculations. Id. at 233:13-25 (“Q: Here you can. You can
13   borrow my phone. A: I don’t wish to. Q: I’m asking you to put the numbers into
14   the calculator. A: I understand. I’m here to answer questions. Q: And you’ve
15   indicated that you can’t do the math – you can’t check the math until you get the
16   calculator. Can you do me a favor and just do the math? A: No, thank you.”). In
17   fact, the transcript goes on for seven (7) pages during which Weir refused to answer
18   the simple math question posed to him (moving a decimal point two spaces)—
19   whether 10.1 divided by 100 equals 10.1%. Id. at 231:14-238:2. This is an exercise
20   that any qualified economics expert should be able to complete. His refusal is all
21   the more astonishing because the equation at issue was included in his report, and
22   was the expression of the ultimate conclusion of his expert opinion calculating the
23   asserted price premium at issue in this case.
24         There are only two possible explanations for Mr. Weir’s refusal to answer the
25   questions at his deposition. The first possibility is that Mr. Weir, who has a
26   bachelor’s degree in Business Economics and an MBA, and seeks to be qualified as
27   an expert in economics by this Court, genuinely does not have the knowledge and
28                                               48
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 1   expertise in basic math to understand how percentages work. In that case, he cannot
 2   be qualified as an expert because he lacks the basic skills in the relevant field. The
 3   second (and, given his resume, more likely) possibility is that Mr. Weir was trying
 4   to avoid answering a simple, basic question based on a fear that he had made an
 5   error in his report, and could not figure out the nature of the error. At a minimum,
 6   this testimony is disingenuous and calls into question his credibility as an expert
 7   witness. In either event, it casts serious doubt on his credentials.
 8                       2.     Mr. Weir’s Survey Concept And Structure Fails To
                                Address The Relevant Damages Issue.
 9
           Even if Mr. Weir is ultimately accepted as an expert, his testimony should be
10
     excluded because his survey concept and structure simply fails to address or provide
11
     a calculation for the damages flowing from Plaintiffs’ alleged theory of harm. Mr.
12
     Weir states that, “In this litigation, price premium damages for the Class are … the
13
     difference in market value between what was promised, and what was delivered.”
14
     Weir Decl. at ¶ 21 (ECF No. 60-22). But while he admits that the relevant goal was
15
     to measure the difference in value between (1) what was promised—i.e., what the
16
     customer expected to receive, and (2) what was delivered—i.e., what the customer
17
     actually received, he failed to identify what customers’ expectations actually were
18
     and likewise failed to correctly identify what customers’ actually received.
19
           Because Weir’s survey fails to (1) test for how potential class members
20
     actually perceive and understand a “Made in the USA” claim and what their
21
     expectations are and (2) identify what those same class members actually received
22
     from New Balance, his model cannot determine the value difference between
23
     expectation and delivery and is not grounded in any facts. As such, his report and
24
     opinions fail to assess damages as alleged under Plaintiffs’ theory of the case and
25
     therefore are inappropriate and not helpful to the trier of fact. See FED. R. EVID. 702
26
     (An expert must be qualified to opine on a topic that will “help the trier of fact
27
     understand the evidence or determine a fact at issue.”) (emphasis added).
28                                               49
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 1                                   Mr. Weir failed to identify what consumers’
                                     expectations were.
 2
           To the extent that Mr. Weir seeks to quantify the difference between what
 3
     consumers expected to receive and what they actually received, Mr. Weir logically
 4
     must first determine what consumers’ expectations were. See Butler Report at ¶¶ 9,
 5
     30. He fails to do that. Instead, Mr. Weir simply states that consumers “expected”
 6
     to get a shoe that was “Made in the USA.” But what does that mean? Does that
 7
     mean that consumers expect that 100% of the materials and labor are domestic?
 8
     Does that mean that consumers expect that the majority of the manufacturing is
 9
     done in the United States? Rule 702 requires “more than subjective belief or
10
     unsupported speculation.” See Claar, 29 F.3d at 502. Mr. Weir admitted at his
11
     deposition that he did no research into consumers’ perception or understanding of
12
     the phrase “Made in the USA” at all:
13
           Q:    But what you’re saying is, what was promised was a shoe that
14               was actually made in the U.S.A., correct?
15         A:    In the way that a reasonable consumer would understand that
                 term, yes.
16         Q:    And how does a reasonable consumer understand that term?
17         A:    That is beyond the scope of my assignment to evaluate how a
                 reasonable consumer would interpret that claim.
18         …
19         Q:    So you don’t know how consumers interpret the claim Made in
                 the U.S.A., do you?
20         A:    Again, that’s beyond the scope of my assignment in this case to
21               make that determination.
22   Ex. 19, Weir Tr. 90:24-91:8, 93:12-17.
23         Moreover, Mr. Weir has no idea what percentage of prospective class
24   members saw and attended to the “Made in the USA” claims on the shoes sold by
25   New Balance in the first place. He did not endeavor to research this specific
26   question because it was somehow “outside the scope” of his assignment. Id. at
27   177:24-178:5. And, he admitted that he simply does not know how many
28                                              50
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 1   individuals may have purchased the shoes without ever noticing or considering the
 2   “Made in the USA” label. Id. at 178:6-15
 3         Because he did not test these issues, Mr. Weir does not know whether an
 4   individual might understand the phrase “Made in the USA” to mean that a good
 5   contains 95%, 80%, or 70% domestic content or value. Id. at 192:5-19. And
 6   because of the way his survey was designed, there is simply no way to know what
 7   any participant believed “Made in the USA” meant in the context of his survey—
 8   whether that was 100%, 90%, 70%, 50%, etc.—and therefore no way to place a
 9   value on what their expectations were. See Butler Report at ¶¶ 30-31.
10         Without performing any study or evaluation of individuals’ perceptions of
11   this claim and their resulting expectations, it is also entirely unclear how Mr. Weir
12   can measure the difference between what they expected and what they received, and
13   his responses to deposition questions provide no further insight. See Ex. 19, Weir
14   Tr. 92:15-22 (“Q: You've said that what was promised was a shoe that a reasonable
15   consumer would view as being Made in the U.S.A. Now, how can you place a value
16   on that if you don't know what a reasonable consumer would accept is something
17   that was Made in the U.S.A.? A. Because the market price as [extant] in the
18   marketplace measures that value.”); see also Butler Report at ¶¶ 9-10, 30-37.
19   Without understanding what consumers’ baseline expectations were he cannot
20   possibly calculate damages to prospective class members. In re Facebook, Inc.,
21   PPC Adver. Litig., 228 F.D.R. 446, 461 (N.D. Cal. 2012) (“[W]ith regard to the
22   UCL claim for restitution, plaintiffs must be able to prove, for each class member,
23   the difference between what the plaintiff’s paid and the value of what the plaintiff’s
24   received.”); In re Google AdWords Litig., No. 5:08-CV-3369-EDJ, 2012 WL 28068,
25   at *15 (N.D. Cal. Jan. 5, 2012) (“Since the purpose of restitution is to return class
26   members to status quo, the amount of restitution due must account for benefits
27   received”).
28                                               51
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 1         Indeed, his survey appears to be improperly founded on a presumption of how
 2   individuals will perceive a “Made in the USA” label based solely on discussions
 3   with counsel regarding Plaintiffs’ “claims.” As such, it should be excluded as
 4   improper. See U.S. v. Redlightning, 624 F.3d 1090, 1111-12 (9th Cir. 2010) (expert
 5   testimony excluded for being based on statements from counsel not facts).
 6                                    Mr. Weir failed to correctly identify what
 7                                    consumers received.
 8         Mr. Weir’s damages model purports to assess the “price premium”
 9   differential between a shoe labeled “Made in the USA” and the same exact shoe
10   with no country of origin label. This model assumes, without support, that for New
11   Balance customers to have received a “correctly” labeled shoe, it would need to
12   have no country of origin representations. But it is undisputed that New Balance is
13   allowed to make qualified domestic manufacturing claims.
14         New Balance maintains five manufacturing facilities in the United States and
15   employs over 1,300 American workers. Ex. 1, Miller Tr. 54:9-19, 48:12-13; Miller
16   Decl. at ¶¶ 8, 12. This fact is not in dispute and Mr. Weir admitted this in his
17   deposition. Ex. 19, Weir Tr. 70:25-72:19, 187:20-25. As a result, there are
18   numerous representations that New Balance could make in connection with its sale
19   of shoes that are manufactured in these facilities, for example: (1) the shoes are
20   “Assembled in the USA,” (2) the shoes are “70% Made in the USA,” (3) the shoes
21   are “Made in the USA with some foreign materials,” or (4) the shoes are “Made in
22   the USA of domestic and imported materials.” And indeed it makes such qualified
23   representations with respect to each of its shoes that are marketed as “Made in the
24   USA” by including clear language disclosing that “Where the domestic value is at
25   least 70%, we have labeled the shoe ‘Made in the USA.’” See, e.g., Ex. 3 (print ad),
26   Ex. 4 (hangtag), and Ex. 5 (website).
27
28                                              52
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 1         Mr. Weir’s model fails to take these alternative truthful representations into
 2   account. To the extent Mr. Weir suggests that he can rectify this flaw by adjusting
 3   the model to compare “Made in the USA” to “70% Made in the USA” or
 4   “Assembled in the USA” he fails to take into consideration the fact that the
 5   hundreds of shoe styles that are marketed with the qualified “Made in the USA”
 6   claim each have a different percentage of value that comes from materials or labor
 7   in the United States. See Declaration of Jason H. Kim in Support of Plaintiffs’
 8   Motion for Class Certification, Exhibit H, Deposition of Kristina Feinen, 12:24-13:4
 9   (ECF No. 60-10) (explaining that the cost of the dye, for example, may vary from
10   style to style, which will affect the domestic value).23 Mr. Weir’s model, however,
11   is not designed to accommodate a multitude of variants on either side of the
12   equation – instead it is limited to a comparison between two options, with or without
13   “Made in the USA,” and as such cannot form a reliable basis for his opinions here.
14   See Kumho Tire Co. v. Carmichael, 526 U.S. 137, 149 (1999) (finding expert
15   opinion testimony “requires a valid . . . connection to the pertinent inquiry as a
16   precondition to admissibility.”) (quoting Daubert, 509 U.S. at 592).
17          Thus, by comparing country of origin claims (i.e., “Made in the USA”) with
18   no country of origin claim, Mr. Weir’s survey simply did not measure the difference
19   between what was expected and what was received, because what was received was
20   a shoe with a qualified “Made in the USA” claim.
21                                       *      *      *
22         Given that Mr. Weir has not determined what consumers were promised and
23   has used the wrong measure of what consumers received, he cannot reliably
24   calculate these two values or the difference between them. Mr. Weir’s ultimate
25   conclusion is not supported by sufficient facts, is simply speculative, and will not
26
     23
27     These percentages in fact range from 70% to 99%, varying from style to style.
     See Miller Decl. at ¶ 20.
28                                               53
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 1   assist the trier of fact. See Harrison, 2008 U.S. Dist. LEXIS 26197, at *57
 2   (proffered expert testimony cannot be excessively speculative nor lack sufficient
 3   factual support) (internal citations omitted); Am. Booksellers Ass’n. v. Barnes &
 4   Noble, Inc., 135 F. Supp. 2d 1031, 1041 (N.D. Cal. 2001) (same) (citation omitted);
 5   Brooke Grp. Ltd., 509 U.S. at 242; Rushing, 388 F.3d at 1156 (same).
 6                      3.     Mr. Weir’s Survey Methodology Is Fundamentally
                               Flawed.
 7
           Even if his survey were designed conceptually to address the relevant issue in
 8
     this case, Mr. Weir’s testimony should still be excluded because his survey
 9
     methodology is fundamentally flawed in at least four ways: (1) Mr. Weir failed to
10
     survey the correct universe of people, (2) Mr. Weir failed to appropriately replicate
11
     market conditions, (3) Mr. Weir’s survey is biased, and (4) Mr. Weir failed to take
12
     into account relevant and necessary supply side factors. As such, he has failed to
13
     apply any reliable methods to the facts of this case, requiring the exclusion of his
14
     opinions. See Pecover, 2010 U.S. Dist. LEXIS 140632, at *20.
15
                                      Mr. Weir did not test the correct universe.
16
           Perhaps most fatal to his ultimate opinions and conclusions is the fact that Mr.
17
     Weir failed to survey the correct universe of people—consumers in California who
18
     purchased New Balance “Made in the USA” labeled shoes. In examining the
19
     asserted price premium paid by purchasers of New Balance shoes marketed as
20
     “Made in the USA,” the correct universe to examine is those actual purchasers—i.e.,
21
     the putative class members. While he could have targeted his survey at potential
22
     members of the purported class (as Mr. Poret’s survey did), he inexplicably chose
23
     not to. This fatal flaw requires the exclusion of his reports and opinions. See Kwan
24
     Software Eng'g, Inc. v. Foray Techs., LLC, No. C 12-03762 SI, 2014 WL 572290, at
25
     *4 (N.D. Cal. Feb. 11, 2014) (finding a survey should be excluded where the
26
     surveyor did not examine the proper universe of consumers).
27
28                                              54
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 1         First, Mr. Weir’s survey gathered responses from 507 participants who had
 2   previously purchased at least one pair of New Balance shoes. Weir Decl. ¶¶ 52, 53
 3   (ECF No. 60-22). Yet only 26 of the 507 participants—approximately 5%— were
 4   from California. See Butler Report at ¶ 11. Second, Mr. Weir did not limit his
 5   survey participants to individuals who purchased New Balance “Made in the USA”
 6   shoes, thus there is no way to know how many of those twenty-six participants
 7   purchased shoes that had been marketed as “Made in the USA.” Despite being fully
 8   aware that this was a purported class action made up of California purchases of New
 9   Balance shoes marketed as “Made in the USA,” Ex. 19, Weir Tr. 44:4-8, he chose
10   not to limit the universe of survey participants to those who would potentially be
11   members of this class, id. at 130:4-17.
12         Moreover, of the 26 survey respondents from California, 38% rejected all of
13   the shoe choices in 7 or more of the 12 conjoint data sets they were presented with.
14   See Butler Report at ¶ 11. Thus, approximately 40% of the data from these
15   California respondents is either not useable or is unreliable for evaluating their
16   preferences within the study. Id. Which means that, at most, only 3% of the survey
17   results are actually applicable to the facts at issue here.
18                                     Mr. Weir failed to replicate market conditions.
19         Mr. Weir’s data is also unreliable because his survey does not replicate a real
20   world marketplace purchasing scenario. As Ms. Butler notes in her report, “[i]t is
21   axiomatic that replicating marketplace conditions is an essential element of good
22   survey design.” Id. at ¶ 54. In fact, “[a]t a minimum, this requires the survey expert
23   to find out how the [product at issue] is typically encountered in the marketplace”
24   and “[t]he failure to discharge this obligation will often result in the exclusion of the
25   survey.” Id. (citing Edwards, G. K. (2012). The Daubert Revolution and Lanham
26   Act Surveys, in Diamond, S. S. & Swann, J. (Eds.) Trademark and Deceptive
27   Advertising Surveys: Law, Science, and Design, 319-362, Chicago, IL: American
28                                               55
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 1   Bar Association. p. 346); see also THOIP v. Walt Disney Co., 690 F. Supp. 2d 218,
 2   241 (S.D.N.Y. 2010) (“Because the Ford Survey failed to replicate actual
 3   marketplace conditions in which consumers encountered the products at issue here
 4   and failed to use an adequate control, it is not a reliable indicator of consumer
 5   confusion. Accordingly, the Ford Survey is inadmissible.”).
 6         Rather than provide his survey participants with an image or other depiction
 7   of the shoe choices provided in his conjoint data sets, Mr. Weir chose to provide
 8   them with bare text descriptions listing only: brand, category type, support, features,
 9   stated country of origin, and price. See Weir Decl. at ¶ 45 (ECF No. 60-22). These
10   descriptions, however, are far removed from real marketplace decisions where an
11   individual walks into a store, sees the shoes, tries on a pair of shoes (or more), and
12   determines whether the shoe is in fact comfortable, whether it feels right on their
13   foot, and how it looks. See Butler Report at ¶¶ 10, 55. Even the named Plaintiffs
14   testified that they only purchased their New Balance shoes after a thorough in-store
15   examination, which included actually trying on the shoes. See Ex. 9, Jones Tr.
16   33:24-35:1, 38:22-39:24, 40:13-23; Ex. 10, Dashnaw Tr. 47:9-48:9; Ex. 11, Meier
17   Tr. 45:11-16, 46:12-49:21. And Mr. Weir admitted that his survey did not take this
18   into consideration. Ex. 19, Weir Tr. 35:3-12 (“Q: But you have no idea what
19   percentage of people actually try on shoes before they purchase, do you? A: As I sit
20   here today, I don't have a recollection one way or the other. Q: Did you do anything
21   to try to find that out? A: That was not foundational to my research, so I did not
22   endeavor to seek that information.”).
23         Additionally, as demonstrated by the fact that a third of survey participants
24   completed the survey in under 7 minutes,24 presenting the choices in this way can
25   hardly represent a real world shoe purchasing scenario.
26
     24
27     This also demonstrates a lack of carefulness and consideration of the choices
     presented. Butler Report at ¶¶ 61-62.
28                                               56
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 1                                     Mr. Weir’s survey is fundamentally biased.
 2         Mr. Weir’s survey is fundamentally biased in a number of ways:
 3         Assumes Consideration of Country of Origin.
 4         Mr. Weir’s survey is designed in a manner that assumes that all consumers
 5   would attend to and take into consideration the country of origin of a product.
 6   Butler Report at ¶¶10, 38. However, in reality, only a small percentage of
 7   consumers are likely to have paid attention to, let alone relied on, the representations
 8   made regarding the country of origin of these shoes. See Poret Report at 13, 37; see
 9   also Ex. 17, Maronick 1995 at 29; Ex. 18, Maronick 2005 at 274; Ex. 2, Kysar Tr.
10   190:25-191:7, 221:5-15.
11         Overweights Country of Origin.
12         By excluding the most important factors that play into an individual’s shoe
13   choice—i.e., comfort, fit, style—the importance of the “Made in the USA”
14   representation was likely overweighted. See Butler Report at ¶¶ 10, 50; Poret
15   Report at 13 (finding factors such as comfort, fit, look or style, price, brand, and
16   cushioning far outweighed a claim of “Made in the USA”).25 Indeed, because Mr.
17   Weir omits these key factors26 there is no way to tell whether the country of origin
18   then became a proxy for more desirable features or attributes that were not included
19   in the model. See Brazil v. Dole Packaged Foods, LLC, No. 12-CV-01831-LHK,
20   2014 U.S. Dist. LEXIS 157575, at *35 (N.D. Cal. Nov. 6, 2014).
21         And Mr. Weir’s model does not take into consideration the fact that
22   respondents may have come into the survey with preconceived notions regarding a
23
     25
        See also Ex. 19, Weir Tr. 150:2-19 (“Q: Would it surprise you to find out that
24   comfort, fit and style are the three most important things that consumers consider in
     whether or not to purchase an athletic shoe? . . . Does it surprise you that those are
25   the three most important attributes that consumers consider? A: I'm not surprised
     one way or the other.”)
26   26
        See Weir Decl. at ¶ 41 (ECF No. 60-22) (respondents were told to “[a]ssume that
27   all of the sneakers are the correct size and fit, are of the same durability, and are of a
     color and design that you would find appealing”).
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 1   New Balance shoe labeled as “Made in the USA,” such that just seeing that cue
 2   would indicate to them that the shoe was of a better quality, durability, or comfort,
 3   for example. See Ex. 19, Weir Tr. 98:15-20 (“Q: Okay. So consumers may by buy
 4   Made in the U.S.A. shoes because they view the quality to be higher, correct? A:
 5   That's, again, beyond the scope of my research, so I can't offer an opinion about that
 6   one way or the other.”), 99:25-100:17 (“Q: And you don't know whether New
 7   Balance shoes are more comfortable than other shoes? A: Again, that's beyond the
 8   scope of my assignment to have made that evaluation. Q: And you don't know
 9   whether or not New Balance shoes that are Made in the U.S.A. are made of a quality
10   that they last longer? A: Again, that's beyond the scope of my assignment to have
11   made a determination about that.”).
12         Indeed, named Plaintiffs each testified that they were very satisfied with their
13   purchases, and that the New Balance “Made in the USA” shoes were more
14   comfortable than any other athletic shoes they have worn. Ex. 9, Jones Tr. 52:7-17,
15   68:16-19, 81:15-18; Ex. 10, Dashnaw Tr. 52:25-53:18; 51:1-10; Ex. 11, Meier Tr.
16   55:10-18. If other customers feel the same way, this could have significantly biased
17   the responses.
18         Social Desirability Bias.
19         Despite Mr. Weir’s protestations at his deposition,27 his survey is undoubtedly
20   subject to social desirability bias. See Butler Report at ¶¶ 58, 59, 60. Having
21   country of origin as one of only five main features and omitting other key features,
22   27
       Ex. 19, Weir Tr. 249:2-250:18 (“Q: Okay. Are you familiar with the concept of
     social desirability bias in survey work? A: I don't think so. Q: So you're not
23   familiar with the concept that there can be a tendency of some respondents to report
     an answer in a way they deem to be more socially acceptable than their true answer
24   would be to project a favorable image of themselves to avoid receiving negative
     evaluations? A: Okay, so that helps me understand what you're talking about. . . .
25   One of the reasons that the web is a great medium for this type of exercise is that the
     people responding to the survey are not face to face with me having to feel like
26   they're being judged. They know that their responses are anonymous in the survey,
     and that helps mitigate any bias that might otherwise arise in an in-person interview
27   along the lines that you've described. . . . Q: So there's no possibility that bias
     exerting itself on the response here? A: I don't perceive that, no.”)
28                                               58
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 1   the “price premium” he purports to calculate is likely impacted by the tendency of
 2   respondents to provide socially desirable answers (i.e., choices that reflect a desire
 3   to maintain jobs, and strengthen the economy in the United States). Id. at 59. It is
 4   well documented that social desirability bias may occur without the presence of a
 5   live interviewer—and in fact a recent study found rates of “false positives” as high
 6   as 23 percent in a study on donor behavior, even though the survey was a self-
 7   administered internet survey. Id. (citing Kreuter, F., Presser, S. & Tourangeau
 8   (2008). Social Desirability Bias in CATI, IVR, and Web Surveys. Public Opinion
 9   Quarterly, 72(5), 847-865).
10                                   Mr. Weir fails to properly account for supply side
                                     factors.
11
           Mr. Weir’s survey and market simulation may measure consumer demand,
12
     but it does not model supply side pressures and therefore cannot truly establish what
13
     “price premium” consumers would have actually paid in the marketplace. See
14
     Butler Report at ¶ 67. As Ms. Butler notes in her report:
15
           Data from a conjoint survey or a marketplace simulation based on the
16         survey alone cannot address how other supply-side factors in a given
17         marketplace could interact to result in the prices firms would charge for
           their products in the actual marketplace. These additional factors
18         include issues such as operating costs, profit margins, costs of materials
19         and availability, competitor responses, etc.
20   Id. at 65; see also Werdebaugh v. Blue Diamond Growers, No. 12-CV-02724-LHK,

21   2014 U.S. Dist. LEXIS 173789, at *46 (N.D. Cal. Dec. 15, 2014) (“Without

22   knowing whether or not the prices of comparable products are actually affected by

23   the relevant labeling claims, how can the model accurately isolate the value of the

24   labeling claim to Defendant's product?”). Mr. Weir admitted that he did not review

25   New Balance’s operating costs, profit margins, costs of materials, etc., in designing

26   and testing his survey and ultimately reaching his “price premium” conclusion. Ex.

27   19, Weir Tr. 48:7-49:1. Thus no calculation he has made in his report can truly

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 1   reflect any “price premium”—if one even exists—with respect to the New Balance’s
 2   shoes sold with a qualified “Made in the USA” claim.
 3         For all these reasons, the Court should grant New Balance’s Motion to
 4   Exclude the Declaration of Colin B. Weir.
 5      VI.    CONCLUSION
 6         For each of the reasons set forth above, New Balance respectfully requests
 7   that the Court (1) deny Plaintiffs’ Motion for Class Certification, (2) deny Plaintiffs’
 8   Request for Judicial Notice with respect to Exhibits A and B, to the extent Plaintiffs’
 9   request judicial notice of any fact beyond the existence of the opinions themselves
10   in the public record, (3) grant New Balance’s Motion to Exclude the Expert Report
11   and Opinions of Douglas A. Kysar, and (4) grant New Balance’s Motion to Exclude
12   the Expert Reports and Opinions of Colin B. Weir.
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 1   Dated: November 8, 2017                     Respectfully submitted,
 2
                                                By: /s/ R. David Hosp
 3                                                  R. David Hosp (Pro Hac Vice)
 4                                                     Massachusetts BBO 634091
                                                    Sheryl Koval Garko (Pro Hac Vice)
 5                                                     Massachusetts BBO 657735
 6                                                  Mark S. Puzella (Pro Hac Vice)
                                                       Massachusetts BBO 644850
 7                                                  Laura B. Najemy (Pro Hac Vice)
 8                                                     Massachusetts BBO 678756
                                                    FISH & RICHARDSON P.C.
 9                                                  One Marina Park Drive
10                                                  Boston, MA 02210-1878
                                                    Tel: (617) 542-5070
11                                                  Fax: (617) 542-8906
12                                                  hosp@fr.com; garko@fr.com;
                                                    puzella@fr.com; najemy@fr.com
13
14                                                  Garrett K. Sakimae (SBN 288453)
                                                    FISH & RICHARDSON P.C.
15
                                                    12390 El Camino Real
16                                                  San Diego, CA 92130
                                                    Tel: (858) 678-5070
17
                                                    Fax: (858) 678-5099
18                                                  sakimae@fr.com
19
                                                    Elizabeth Brenckman (Pro Hac Vice)
20                                                    Minnesota State Bar No. 0388871
                                                    FISH & RICHARDSON P.C.
21
                                                    601 Lexington Avenue, 52nd Floor
22                                                  New York, NY 10022
                                                    Tel: (212) 765-5070
23
                                                    Fax: (212) 258-2291
24                                                  brenckman@fr.com
25
26
27
28                                              61
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